       Case: 23-2891   Document: 12         Filed: 12/21/2023    Pages: 93


                                 No. 23-2891

                   UNITED STATES COURT OF APPEALS
                      FOR THE SEVENTH CIRCUIT


UNITED STATES OF AMERICA,
         Plaintiff-Appellee,

           v.

MATTHEW RICE
        Defendant-Appellant



                  Appeal from the United States District Court
                      for the Northern District of Indiana
                              Case No. 3:22-CR-36
                     The Honorable Judge Jon E. DeGuilio



                 BRIEF AND REQUIRED SHORT APPENDIX
                OF DEFENDANT-APPELLANT MATTHEW RICE



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                                 APPEARANCE & CIRCUIT RULE 26.1 DISCLOSURE STATEMENT

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                    23-2891

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               United States v. Matthew Rice

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                                                                           i
            Case: 23-2891              Document: 12                    Filed: 12/21/2023              Pages: 93


                                            TABLE OF CONTENTS
                                                                                                                       PAGE

Appearance & Circuit Rule 26.1 Disclosure Statement ................................................ i

Table of Contents ........................................................................................................... ii

Table of Authorities ...................................................................................................... iii

I. Introduction ................................................................................................................ 1

II. Jurisdictional Statement ......................................................................................... 8

III. Issue Presented ..................................................................................................... 10

IV. Case Statement ...................................................................................................... 10

V. Argument Summary ............................................................................................... 19

VI. Standard of Review ............................................................................................... 23

VII. Argument .............................................................................................................. 24

          A. Congress passed § 922(g)(1) to keep firearms out of the hands of the
             public generally............................................................................................ 27

          B. Mr. Rice’s conduct of possession of a firearm falls within the Second
             Amendment’s plain text. ............................................................................. 29

          C. Mr. Rice remains part of “the People” the Second Amendment
             protects. . ...................................................................................................... 33

          D. The government cannot affirmatively show that Mr. Rice’s disarming is
             rooted in the nation’s founding-era history and traditions.. ...................... 37

                    1. The District Court erred in finding that the government proffered
                       sufficient historical evidence that § 922(g)(1)’s application to Mr.
                       Rice was consistent with the national historical tradition of firearm
                       regulation……………………………………………..….………….…….39

                    2. The District Court failed to apply the historical evidence consistent
                       with Atkinson .................................................................................... 47

VIII. Conclusion ........................................................................................................... 50

                                                               ii
           Case: 23-2891              Document: 12                  Filed: 12/21/2023             Pages: 93


IX. Statement Concerning Oral Argument ................................................................. 50

Certificate of Compliance with F.R.A.P. Rule 32(a)(7)(C).......................................... 52

Certificate of Service.................................................................................................... 53

                                        TABLE OF AUTHORITIES

CASES                                                                                         PAGE
Atkinson v. Garland, 70 F.4th 1018 (7th Cir. 2023)........................................... Passim

Austin v. United States, 509 U.S. 602, 613 (1993) ..................................................... 40

Class v. United States, 583 U.S. 798, 806 (2018)........................................................ 23

District of Columbia v. Heller, 554 U.S. 570 (2008) ........................................... Passim

Huddleston v. United States, 415 U.S. 814, 819 (1974) ............................................. 28

Kanter v. Barr, 919 F.3d 437 (7th Cir. 2019) ...................................................... Passim

Konigsberg v. State Bar of Cal., 366 U.S. 36, 50, n.10 (1961) .................................... 25

Lewis v. United States, 445 U.S. 55, 63 (1980) ............................................................ 7

McDonald v. City of Chicago, 561 U.S. 742, 780 (2010) ............................................. 35

Medina v. Whitaker, 913 F.3d 152, 158, 160 (D.C. Cir. 2019) ............................. 13, 41

NLRB v. Jones & Laughlin Steel Corp., 301 U.S. 1, (1937) ........................................ 7

N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022) ....................... Passim

Oliver v. United States, 951 F.3d 841, 847 (2020) ...................................................... 23

Presser v. Illinois, 116 U.S. 252, 265 (1886) .............................................................. 27

Range v. Attorney General, 69 F.4th 96 (3d Cir. 2023)....................................... Passim

United States v. Bean, 537 U.S. 71, 75 n.3 (2002) ........................................................ 1

United States v. Booker, 644 F.3d 12, 24 (1st Cir. 2011).............................................. 7




                                                            iii
            Case: 23-2891               Document: 12                     Filed: 12/21/2023               Pages: 93


United States v. Bullock, --- F. Supp. 3d ---, 2023 WL 4232309, at *19-20 (S.D. Miss.
June 28, 2023) ........................................................................................................ 30, 37

United States v. Chester, 628 F.3d 673, 679 (4th Cir. 2010) ...................................... 45

United States v. Coombes, 629 F. Supp. 1149, 1158 (N.D. Okla. Sept. 21, 2022) ..... 18

United States v. Cruikshank, 92 U.S. 542, 55 (1875) ................................................ 27

United States v. Daniels, 77 F.4th 337, 342 (5th Cir. 2023)……………...………..35, 36

United States v. Diaz, Case No. 1:20-cr-00597, 2023 WL 8019691, *5 (N.D. Ill. Nov.
20, 2023) ................................................................................................................. 31, 34

United States v. Forbis, --- F. Supp. 3d ---, 2023 WL 5971142, *3 (N.D. Okla. Aug.
17, 2023) ....................................................................................................................... 30

United States v. Griffin, Case No. 21-cr-00693, 2023 WL 8281563, *4 (N.D. Ill. Nov.
30, 2023) ....................................................................................................................... 30

United States v. Harper, No. 1:21-CR-0236, 2023 WL 5672311, at *6 (E.D. Pa. Sept.
1, 2023) ......................................................................................................................... 30

United States v. Jackson, 69 F.4th 495, 502 (8th Cir. 2023)...................................... 20

United States v. Leblanc, --- F. Supp.3d ----, 2023 WL 8756694, at *5 (M.D. La. Dec.
19, 2023) ....................................................................................................................... 31

United States v. Meza-Rodriguez, 798, F.3d 664, 669 (7th Cir. 2015) ................. 23, 34

United States v. Miles, 86 F.4th 734, 740 (7th Cir. 2023) .................................... 19, 23

United States v. Prince, No. 22 CR 240, 2023 WL 7220127, * 4-5 (N.D. Ill. Nov. 2,
2023) ......................................................................................................................passim

United States v. Quailes, --- F. Supp. 3d ---, 2023 WL 5401733, *8 (E.D. Pa. Oct. 21,
2023) ....................................................................................................................... 30, 31

United States v. Rahimi, 61 F.4th 443, 454 (5th Cir. 2023) ................................ 29, 34

United States v. Rowson, 652 F. Supp. 3d 436, 464 (S.D.N.Y. Jan. 26, 2023) .......... 14

United States v. Salme-Negrete, Case No. 1:22-cr-00637, 2023 WL 7325888, *5 (N.D.
Ill. Nov. 7, 2023) ........................................................................................................... 30

                                                                 iv
            Case: 23-2891              Document: 12                   Filed: 12/21/2023              Pages: 93




United States v. Skoien, 614 F.3d 638, 640 (7th Cir. 2010) ............................... Passim

United States v. Verdugo–Urquidez, 494 U.S. 259, 265 (1990) .................................. 34

United States v. Yancey, 621 F.3d 681, 683 (7th Cir. 2010) ...................................... 28

Vincent v. Garland, 80 F.4th 1197, 1202 (10th Cir. 2023) ......................................... 20

STATUTES
18 U.S.C. § 922(g) ....................................................................................................... 28

18 U.S.C. § 922(g)(1) ............................................................................................ Passim

18 U.S.C. § 922(g)(8) .....……...……………………………...………………………………29

18 U.S.C. § 922(g)(3)…………...………………………….…………………………………35

18 U.S.C. § 924(a)(8) .................................................................................................... 21

18 U.S.C. § 925(c) ........................................................................................................... 1

18 U.S.C. § 3231 ............................................................................................................. 8

18 U.S.C. § 3742 ............................................................................................................. 8

28 U.S.C. § 1291 ............................................................................................................. 8

28 U.S.C. § 2106 ............................................................................................................. 8


OTHER AUTHORITIES
Rules
Federal Rule of Appellate Procedure 4(b)(1)(A)(i) ........................................................ 9

Federal Rule of Appellate Procedure 34(a) ................................................................. 50

Federal Rule of Appellate Procedure 34(f).................................................................. 50

Federal Rule of Criminal Procedure 11 ...................................................................... 23

Federal Rule of Criminal Procedure 11(a)(2) ............................................................. 23

Federal Rule of Criminal Procedure 12 ...................................................................... 12

                                                               v
           Case: 23-2891              Document: 12                  Filed: 12/21/2023             Pages: 93




Secondary
Adam Winkler, Heller’s Catch-22, 56 UCLA L. Rev. 1551, 1563 (2009) ................... 42

C. Kevin Marshall, Why Can’t Martha Stewart Have A Gun?, 32 Harv. J. L. & Pub.
Pol’y 695, 708 (2009) .................................................................................................... 42

Carlton F.W. Larson, Four Exceptions in Search of A Theory: District of Columbia v.
Heller and Judicial Ipse Dixit, 60 Hastings L.J. 1371, 1376 (2009).......................... 42

Franklin E. Zimring, Firearms and Federal Law: The Gun Control Act of 1968, 4
Journal of Legal Studies 133, 135 (1975). ................................................................. 42

Lawrence Rosenthal, The Limits of Second Amendment Originalism and the
Constitutional Case for Gun Control, 92 Wash. U. L. Rev. 1187, 1211 (2015).......... 42

Nelson Lund, The Second Amendment, Heller, and Originalist Jurisprudence, 56
UCLA L. Rev. 1343, 1357 (2009) ................................................................................. 42

United States Sentencing Commission, What Do Federal Firearm Offenses Really
Look Like, at p. 2 (July 2022) ........................................................................................ 5

Constitutional
U.S. Const. amend. II ...........................................................................................passim




                                                             vi
        Case: 23-2891     Document: 12         Filed: 12/21/2023     Pages: 93



                            I.    INTRODUCTION

      To use a baseball analogy, one qualifying conviction, and you are

out. Out in the sense that, in practice, under 18 U.S.C. § 922(g)(1),

Congress, in 1968, created a statute that prohibits, in fact criminalizes,

firearm possession by a person convicted of any crime punishable by a

prison term greater than one-year. 1 Out in the sense that in practice,

the qualifying conviction results in the person’s permanent loss of their

Second Amendment right to possess a firearm.2




1 Section 922(g)(1) in full provides: “It shall be unlawful for any person who has

been convicted in any court of, a crime punishable by imprisonment for a term
exceeding one year to ship or transport in interstate or foreign commerce, or possess
in or affecting commerce, any firearm or ammunition; or to receive any firearm or
ammunition which has been shipped or transported in interstate or foreign
commerce.”

2 Congress has created an escape hatch, whereby a prohibited person under §

922(g)(1), may petition the Attorney General to restore their firearm rights, and
seek judicial review of the Attorney General’s adverse decision. See 18 U.S.C. §
925(c). However, Congress has not funded § 925(c)’s administration since 1992. See
United States v. Bean, 537 U.S. 71, 75 n.3 (2002). Accordingly, there is no federal
administrative restoration process in place for prohibited persons like Mr. Rice.
       Further, analytically, § 925(c) places the burden on the restoration applicant
to demonstrate to the Attorney General’s “satisfaction that the circumstances
regarding the disability, and the applicant’s record and reputation, are such that
the applicant will not be likely to act in a manner dangerous to public safety and
that the granting of the relief would not be contrary to the public interest.” By
placing the burden on the restoration applicant, § 925(c) is not similar to the “shall-
issue” firearm licensing regimes Justice Kavanaugh appears to have endorsed in his
Bruen concurrence. N.Y. State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111, 2162
(2022). Section 925(c), if functioning, would operate in the same “may-issue”
manner found to be constitutionally problematic in Bruen, by imposing the burden
        Case: 23-2891     Document: 12            Filed: 12/21/2023   Pages: 93



      Under § 922(g)(1), the nature of the qualifying offense of

conviction is immaterial. It does not matter whether the conviction

resulted in a direct harm. It does not matter how long ago the

conviction was. It does not matter when the conduct underlying the

conviction occurred. The only limiting provision is whether the offense

may be punished with more than one-year in custody.

      To that end, in practice, post-conviction, it does not matter why a

person may request, or need, to possess a firearm today or in the future.

Acquiring or possessing a firearm within the home for self-defense –

illegal. Acquiring or possessing a firearm within the home for defense of

family – illegal. Acquiring or possessing a firearm for defense of

property within the home – illegal. Acquiring and possessing a firearm

for defense of self in public – illegal. Through § 922(g)(1), Congress has

determined that all qualifying convictions result in the same




on the restoration applicant, while providing the Attorney General considerable
discretion. See Bruen, 142 S. Ct. at 2138, n.9; see also Bruen, 142 S. Ct. at 2156 (the
Supreme Court stating that it “know[s] of no other constitutional right that an
individual may exercise only after demonstrating to government officers some
special need. That is not how the First Amendment works when it comes to
unpopular speech or the free exercise of religion. It is not how the Sixth Amendment
works when it comes to a defendant’s right to confront the witnesses against him.
And it is not how the Second Amendment works when it comes to public carry for
self-defense.”).
                                              2
       Case: 23-2891      Document: 12       Filed: 12/21/2023   Pages: 93



constitutional deprivation: The permanent loss of the Second

Amendment right to possess a firearm, and criminal prosecution for the

exercise of that right.

      The law sweeps broadly. It does not distinguish between prior

violent convictions or non-violent convictions. It does not distinguish

between prior convictions based on community risk. It does not

distinguish between prior convictions based on a metric of

dangerousness.

      The same is true in Matthew’s Rice case. In 2009, Indiana

authorities convicted him of felony operating a vehicle as a habitual

traffic violator. See R. 33, p. 1. In 2011, Indiana authorities convicted

him of operating a motor vehicle after permanent license forfeiture. See

id. Because the offenses were punishable by a prison term greater than

one-year, under § 922(g)(1), Congress has authorized his permanent loss

of Second Amendment rights and the instant prosecution for the

exercise of that right. See id.

      Under § 922(g)(1), once Matthew Rice had been convicted of a

qualifying offense in 2009, no matter how temporarily attenuated, no

matter on what non-violent or non-dangerous grounds, he was in


                                         3
       Case: 23-2891   Document: 12         Filed: 12/21/2023   Pages: 93



practice permanently barred from possessing a firearm. Strike one, and

he was Second Amendment out.

     Would the same be true under the other Bill of Rights protections?

For example, could Congress permanently chill Mr. Rice’s speech

because he had been convicted of a non-violent offense punishable by a

term of imprisonment greater than one-year? Could Congress

permanently eliminate Mr. Rice’s practice of a particular religious

preference based on his not-recent convictions for driving related

offenses punishable by a term of imprisonment greater than one-year?

Congress has not claimed the authority to permanently subject a person

to unreasonable search and seizure based on such a conviction.

Congress has not claimed the authority to permanently eliminate a

person’s right to trial counsel based on any qualifying conviction. The

First, Fourth, and Sixth Amendments prevent Congress from doing so.

     But, in the Second Amendment context, through § 922(g)(1),

Congress has staked a constitutionally incomparable plenary regulatory

claim. One qualifying conviction, and Congress has determined the

person’s Second Amendment rights must be revoked, permanently. The

same is not true of other Bill of Rights protections. It should not be true


                                        4
       Case: 23-2891   Document: 12        Filed: 12/21/2023   Pages: 93



in the Second Amendment context, and if the Second Amendment

provides equal constitutional protection as the other Bill of Rights

provisions, as the Supreme Court has assured, it cannot be true in the

Second Amendment context.

     As stated in other recent Second Amendment appeals, whether

Bruen’s text and history test requires a reworking of federal firearm

laws has yet to be determined, however, there is no doubt that the

Supreme Court granted certiorari and decided Bruen the way it did

because, it believed something was missed post-Heller and needed to be

changed. See District of Columbia v. Heller, 554 U.S. 570 (2008). The

same is true in this case.

     Section 922(g)(1) is among the most charged federal offenses

generally, and “firearm offenses are among the most common crimes

prosecuted and sentenced in federal court.” United States Sentencing

Commission, What Do Federal Firearm Offenses Really Look Like, p. 2

(July 2022). The statute may very well be the linchpin of federal firearm

criminal enforcement. Indeed, federal law enforcement may be

structured to facilitate the statute’s enforcement. The federal judiciary

may be accustomed to sentencing under the statute. United States


                                       5
       Case: 23-2891   Document: 12         Filed: 12/21/2023   Pages: 93



Probation may be comfortable with the statute’s application in the

United States Sentencing Guidelines.

      But, Congress’s purported salutary interest in passing the statute

and the statute’s regulatory salience are no longer germane Second

Amendment considerations under Bruen. Section 922(g)(1)’s utility is no

longer constitutionally relevant. In Bruen, the Supreme Court signaled

that legislatures had been overreaching in regulating firearms and

constitutional text and founding-era history was the corrective the

judiciary must apply to rescale a legislature’s overwrought interest.

      Section 922(g)(1) may be common, it may be a familiar statute for

federal institutional actors, and there may now be a substantial effort

dedicated to its enforcement, but the statute is also subject to the

changed judicial framework the Supreme Court has mandated under

the Second Amendment applying Bruen. Applying that change, §

922(g)(1) fails.

      It fails because its breadth, and application are redolent of a

different, and now rejected, period in national firearm experience,

regulation, and history. The statute is “firmly rooted in the twentieth

century” and reflects a distinct mid-twentieth century constitutional


                                        6
       Case: 23-2891   Document: 12         Filed: 12/21/2023   Pages: 93



perspective: That Congress retains near-unassailable authority to

regulate firearm possession, and the Second Amendment confers only a

limited, if not de minimus, individual right to possess a firearm. United

States v. Booker, 644 F.3d 12, 24 (1st Cir. 2011); see e.g., Lewis v. United

States, 445 U.S. 55, 63 (1980) (the Supreme Court affirming that

Congress, then, had the authority to pass “a sweeping prophylaxis . . .

against misuse of firearms.”); see also Range v. Attorney General, 69

F.4th 69, 109 (3d Cir. 2023) (en banc) (Porter, J., concurring) (noting

that the federal firearm regulatory landscape changed in 1937, “when

the Supreme Court adopted an expansive conception of the Commerce

Clause.”) (citing NLRB v. Jones & Laughlin Steel Corp., 301 U.S. 1,

(1937)). Indeed, it is no wonder § 922(g)(1) is so broad considering

Congress passed the statute well before the Supreme Court had

confirmed the Second Amendment’s text as conferring a preexisting

individual right. The statute’s broad sweep is a mid-twentieth century

innovation without a pre-twentieth century analogue.

     The statute fails because, as a firearm regulation, it is

inconsistent with the national history of firearm regulation and

tradition from the time of the Founding. Legislatures disarmed in 1791.


                                        7
       Case: 23-2891   Document: 12         Filed: 12/21/2023   Pages: 93



Legislatures did not disarm on the scale, scope, and extent of § 922(g)(1)

during the founding-era.

     As set forth below, § 922(g)(1) fails here because there is no

supporting founding-era history or tradition supporting the permanent

disarmament and criminal prosecution of Matthew Rice based on his

minimal, non-violent, criminal history.

             II.   JURISDICTIONAL STATEMENT

     The District Court exercised subject matter jurisdiction over Mr.

Rice’s criminal case pursuant to 18 U.S.C. § 3231. This Court exercises

appellate jurisdiction over his direct appeal under 28 U.S.C. §§ 1291,

2106, and 18 U.S.C. § 3742.

     On January 6, 2023, Mr. Rice moved to dismiss the single §

922(g)(1) count contained in the indictment under the Second

Amendment. R. 10; R. 21. On March 17, 2023, the District Court denied

his motion. R. 40; see also App. pp. 10-31 (order on direct appeal).

     On May 22, 2023, the District Court accepted Mr. Rice’s guilty

plea on the single count. R. 50. Mr. Rice pled guilty without a plea

agreement or appellate waiver provision.




                                        8
       Case: 23-2891    Document: 12         Filed: 12/21/2023   Pages: 93



      On September 21, 2023, the District Court entered judgment on

the single § 922(g)(1) count. R. 64, pp. 1-3; see also App. pp. 4-6.

The District Court imposed a time-served custodial sentence

(approximately 17 months custody), with 24 months of supervised

release to follow. R. 7; R. 64, pp. 1-3; see also App. pp. 4-6.

      On September 28, 2023, Mr. Rice filed a timely notice of appeal

pursuant to Federal Rule of Appellate Procedure 4(b)(1)(A)(i). R. 66. On

September 29, 2023, this Court docketed Mr. Rice’s criminal case, and

set November 8, 2023, as his opening Appellant brief deadline. DE 1.

On November 1, 2023, Mr. Rice moved for a time enlargement to file his

opening brief, DE 4, which this Court granted, setting November 16,

2023, as the Appellant opening brief deadline. DE 6. On November 8,

2023, and December 7, 2023, this Court further extended Mr. Rice’s

opening brief deadline. DE 7, 10. Mr. Rice now timely submits his

opening Appellant brief challenging the District Court’s denial of his




                                         9
        Case: 23-2891      Document: 12         Filed: 12/21/2023     Pages: 93



motion to dismiss the single count of the indictment under the Second

Amendment.3

                         III.    ISSUE PRESENTED

      Whether the government affirmatively proved that § 922(g)(1),

facially or as-applied, violates the Second Amendment under the Bruen

text and history standard?

      The District Court erred in concluding that the government had

affirmatively shown that § 922(g)(1) satisfied the Bruen text and history

test facially and as applied.

                          IV.    CASE STATEMENT

      On April 25, 2022, the government filed a criminal complaint

against Mr. Rice. R. 1. On May 11, 2022, the government filed the

indictment against Mr. Rice, charging him with a single count under §

922(g)(1). R. 10; see also App. pp. 2-3. The indictment alleged Mr. Rice

possessed a firearm in early April 2022. R. 10; see also App. pp. 2-3. As

noted, Mr. Rice had been convicted in Indiana, in 2009 and 2011, of two




3 “R.” refers to the District Court docket entries. “DE” refers to the docket entries

before this Court. “App.” refers to the short appendix attached in support of this
brief.
                                              10
         Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



driving related offenses, punishable by a term exceeding a year. R. 33,

p. 1.

        On January 6, 2023, Mr. Rice moved to dismiss the indictment

under the Second Amendment. See generally R. 28. Mr. Rice argued

that § 922(g)(1) facially and as-applied violated the Second Amendment

under Bruen. See id. at 1.

        As to constitutional text, at Bruen’s first prong, Mr. Rice argued

that “possession of a firearm falls within the Second Amendment’s plain

text and protective ambit. As a result, Mr. Rice’s conduct at issue –

firearm possession, [was] presumptively constitutionally protected.” Id.

at 3. Mr. Rice further argued that he remained among “the People” the

Second Amendment protected. Id. at 12-13. Last, at Bruen’s second

prong, Mr. Rice argued that his “prosecution for firearm possession,

based on his criminal history contravenes the nation’s firearm history

and tradition.” Id. at 13.

        Regarding history, Mr. Rice argued that founding-era legislatures

disarmed, but never for reasons related to all convictions, like Mr. Rice’s

conviction-based disarmament. “Rather, founding era and early republic

[legislatures] targeted to disarm dangerous people or groups –those who


                                         11
        Case: 23-2891     Document: 12          Filed: 12/21/2023    Pages: 93



were a threat to engage in public violence, rebellion, insurrection, or

posed a threat to the incipient and hard-fought independence and

national sovereignty or were perceived to endanger domestic

tranquility.” R. 38, pp. 2-3. “What did not exist at the time of the

founding was the criminalization of firearm possession by a person with

no [criminal] history of [violence], such as Matthew Rice.”4 Id. at 3. Mr.

Rice further argued that, with regards to criminal history, at the time of

the Founding, Congress’s authority to disarm was understood to apply

to specific so-called dangerous or violent offenses, not all felony-level

convictions. See id.

      The government responded that Mr. Rice and persons convicted of

a crime punishable by more than a year were not part of “the People”

the Second Amendment’s plain text protects. R. 33, pp. 7-10. The

government additionally argued that felon firearm restrictions




4 During the motion to dismiss, the government attempted to introduce information

showing that Mr. Rice had been arrested in Indiana in January 2022, and February
2022. See R. 33, p. 2. Mr. Rice objected to the inclusion of this material because the
incidents had not yet resulted in criminal convictions and went beyond the facts
alleged in the indictment. See R. 38, pp. 3-4; see also Fed. R. Crim. P. 12. The
District Court stated that “none of the additional facts are necessary to adjudicate
this motion.” R. 40, p. 2 n.1; see also App. p. 11 n.1. Accordingly, the District Court
cabined its analysis to the facts raised in the indictment.
                                             12
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



remained presumptively lawful under Heller. See id. at 4. Last, the

government argued that Mr. Rice’s prosecution and § 922(g)(1)’s

restrictions were rooted in the nation’s history and tradition. See id. at

10.

      As to history, the government argued that “capital punishment

and forfeiture of estate” restrictions were sufficiently analogues to §

922(g)(1). Id. at 12-13. The government argued that “[w]ith a death

sentence, there was of course no need further to disarm a felon, and the

historical sentencing was far more serious than the permanent

disarmament of today’s law[,]” and thus “tradition and history show[ed]

that ‘those convicted of felonies are not among those entitled to possess

arms’” under the Second Amendment’s plain text. Id. at 13-14 (quoting

Medina v. Whitaker, 913 F.3d 152, 158, 160 (D.C. Cir. 2019)).

      Next, the government argued that § 922(g)(1) is analogous “to

disarmament laws that ‘prohibited various categories of persons viewed

at the time as dangerous, having violent propensities, and/or unfaithful

to the sovereign and its laws’ and those who refused ‘to comply with

developing social and legal norms.’” Id. at 14 (quoting United States v.

Rowson, 652 F. Supp. 3d 436, 464 (S.D.N.Y. Jan. 26, 2023)). To that


                                       13
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



point, the government added that the limits of the Second Amendment

right as understood in 1791 included the “well-established” English

practice of “disarm[ing] classes of people who, in the legislature’s view,

could not be depended upon to obey the rule of law.” Id. at 14.

     The government offered examples of such early disarming

practices. The government argued that firearm regulations “directed

toward disarming Native Americans and Black people were pervasive.”

Id. at 15. The government was clear that “[t]hese specific regulations of

this period are repugnant (not to mention unconstitutional), but colonial

history furnishes numerous examples in which full-fledged members of

the political community as it then existed—i.e., free, Christian, white

men—were disarmed due to conduct evincing inadequate faithfulness to

the sovereign and its laws.” (internal citation omitted). Id. at 16.

      The government offered a 1630s Massachusetts act disarming the

supporters “of an outspoken preacher” because of the group’s “disavowal

of the rule of law” and failure to demonstrate “obedience to the

commands of the government.” Id. (internal citation omitted). The

government additionally referenced a Virgina act passed during the

Seven Years War (1754-1763) “disarming Catholics who refused to take


                                        14
       Case: 23-2891   Document: 12       Filed: 12/21/2023   Pages: 93



a loyalty oath.” Id. (internal citation omitted). The government

contended that the early Virgina act, “[l]ike the English law . . . , tied

disarmament to failure to take a loyalty oath—and exempted those who

took the oath after previously refusing.” Id. (internal citation omitted).

     The government next argued that on the eve of the Revolutionary

War, early colonial legislatures “passed numerous laws disarming non-

violent individuals because their actions evinced an unwillingness to

comply with the legal norms of the nascent social compact” specifically

“targeting those who failed to demonstrate loyalty to the emergent

American government.” Id. at 16 (internal citations omitted). The

government offered a 1775 Connecticut act disarming any person

“convicted of libeling or defaming any acts or resolves of the Continental

Congress or the Connecticut General Assembly made for the [defense]

or security of the rights and privileges of the colonies.” Id. at 17

(internal citation omitted).

     The government argued that these regulations were proper

historical antecedents to § 922(g)(1) because the early legislatures

“made categorical judgments about disarmament that were not tied to

an individual’s past violent acts but rather to the legislature’s judgment


                                        15
       Case: 23-2891   Document: 12       Filed: 12/21/2023   Pages: 93



about who is included among the law-abiding, trustworthy members of

the political community.” Id.

      The government next analogized to loyalty oaths required during

the Revolutionary War. See id. The revolutionary loyalty oaths

“strip[ped] anyone who failed or refused to take the oath of the right to

bear arms.” Id. (internal citations omitted). The government claimed

that the revolutionary period demonstrated that “legislatures were

understood to have the authority and broad discretion to decide when

disobedience with the law was sufficiently grave to exclude even a non-

violent offender from the people entitled to keep and bear arms.” Id. at

19.

      Post-bellum, when Congress ratified the Second Amendment, the

government claims that “particularly persuasive evidence [showed] the

founders understood that the constitutional right to bear arms is

compatible with broad legislative authority to disarm groups

legislatures did not trust to follow the law.” Id. at 19 (internal citation

omitted). The government offered a 1787 Pennsylvania Antifederalist

proposal to create a constitutional amendment providing “no law shall

be passed for disarming the people or any of them unless for crimes


                                        16
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



committed, or real danger of public injury from individuals.” Id.

(internal citation omitted). The government, additionally, cited a

Massachusetts proposal to include language that the “Constitution be

never construed to authorize Congress . . . to prevent the people of the

United States, who are peaceable citizens, from keeping their own

arms” and a New Hampshire proposal to include language that

“Congress shall never disarm any Citizen unless such as are or have

been in Actual Rebellion.” Id. at 20 (internal citations omitted).

Congress did not adopt the Pennsylvania, Massachusetts, or New

Hampshire proposals into the Second Amendment’s final text.

     The District Court denied Mr. Rice’s dismissal motion. See R. 40;

see also App pp. 10-31. First, as to Mr. Rice’s as-applied challenge, the

District Court found that Mr. Rice’s attack on § 922(g)(1) was foreclosed

by this Court’s pre-Bruen Second Amendment precedent. R. 40, p. 6;

App. p. 15 (the District Court noting that Bruen “did not disturb

existing Seventh Circuit precedent which forecloses Mr. Rice’s as-

applied challenge.”); see also R. 40, p. 10; App. p. 19 (“This means the

Seventh Circuit’s holding in Kanter [v. Barr] 919 F.3d 437 [442 (7th Cir.

2019)] upholding § 922(g)(1) as applied to non-violent felons remains


                                       17
        Case: 23-2891      Document: 12         Filed: 12/21/2023     Pages: 93



valid and binding precedent which precludes Mr. Rice’s as-applied

challenge.”).5

      The District Court, alternatively, found that the government had

“carried its burden at the second prong of the Bruen test.”6 R. 40, p. 16;

App. p. 25. The District Court determined that the government had

carried its burden to show that historical laws “which authorized

capital punishment and estate forfeiture for persons convicted of

felonies” were “sufficiently analogous” to § 922(g)(1); the District Court

additionally found that it “does not need to analyze the second set of

historical regulations” showing 922(g)(1)’s connection to a “legislative



5 In Atkinson v. Garland, 70 F.4th 1018, 1022 (7th Cir. 2023), this Court held that

Kanter and pre-Bruen case law could not be exclusively relied upon by a district
court confronted with a § 922(g)(1) challenge because Kanter applied the “means-
end inquiry after determining that the historical record on felons possessing
firearms was inconclusive.” This Court remanded so the district court could
“conduct the historical analysis that Bruen now requires.” Id.

6 The District Court erroneously considered history at Bruen’s first step, in

determining whether his conduct was protected by the Second Amendment’s plain
text, but it ultimately assumed without deciding that Mr. Rice remained part of “the
People” the Second Amendment protects at Bruen’s first prong. R. 40, p. 15; see also
App. p. 24. The District Court then proceeded to Bruen’s second step, whether the
government carried its burden to show that Mr. Rice’s prosecution was rooted in the
nation’s history and tradition of firearm regulation. R. 40, pp. 15-16; App. pp. 24-25
(the District Court noting that even “if the previously discussed historical evidence
[at Bruen’s first step] will not be used to define the scope of the Second Amendment
right, it is nonetheless useful for defining the scope of the legislature’s power to take
that right away” at Bruen’s second step.) (citing United States v. Coombes, 629 F.
Supp. 1149, 1158 (N.D. Okla. Sept. 21, 2022)).
                                              18
       Case: 23-2891        Document: 12    Filed: 12/21/2023   Pages: 93



judgment that the group could not be trusted to adhere to the rule of

law.” R. 40, p. 16; see also App. p. 25.

      The District Court determined that “use of these severe

punishments [capital punishment and estate forfeiture] on those

convicted of violent and non-violent crimes shows that Mr. Rice’s

proposed distinction between violent and non-violent felonies is not

supported by the historical record.” R. 40, p. 17; see also App. p. 26. The

District Court further noted that “given the exceptionally heavy burden

these punishments place upon an individual, which inherently deprives

the individual of their Second Amendment rights, disarmament under §

922(g)(1) is a comparatively lenient punishment and therefore is

constitutionally permissible.” R. 40, p. 18; App. p. 27.

      The District Court found Mr. Rice’s facial attack moot, because it

had denied his as-applied challenge. See R. 40, p. 21; App. p. 30.

                       V.     ARGUMENT SUMMARY

      This Court has reviewed § 922(g)(1) in the Bruen, Second

Amendment context. See Atkinson, 70 F.4th at 1024 (remanding for

proper analysis of Bruen’s text and history standard); see also United

States v. Miles, 86 F.4th 734, 740 (7th Cir. 2023) (denying the appellant-


                                           19
       Case: 23-2891   Document: 12         Filed: 12/21/2023   Pages: 93



defendant’s Second Amendment challenge to § 922(g)(1), applying the

plain error standard). The treatment of § 922(g)(1) under the Bruen,

Second Amendment framework by sister circuits has varied.

     The Third Circuit held § 922(g)(1) unconstitutional as-applied. See

Range, 69 F.4th at 96, 100, 103. In Range, the Third Circuit found that

the plain text of the Second Amendment applies to and protects all

Americans, including those with a prior qualifying conviction. See id. at

100. And, the government’s historical proffer of, among other things,

felony capital punishment and estate forfeiture failed the Bruen

historical standard. See id. at 105, 106.

      The Eighth Circuit and the Tenth Circuit, by contrast, reached

the opposite conclusion, finding that § 922(g)(1) as applied to convicted

felons “consistent with the Nation’s historical tradition of firearm

regulation.” United States v. Jackson, 69 F.4th 495, 502 (8th Cir. 2023);

see also Vincent v. Garland, 80 F.4th 1197, 1202 (10th Cir. 2023)

(finding § 922(g)(1) remained constitutional and that Bruen’s test did

not disturb pre-Bruen cases supporting long standing felon firearm

prohibitions).




                                       20
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



      This Court should join the Third Circuit and adopt Range’s

holding and reasoning here that 1) Mr. Rice is part of the “the People”

the Second Amendment protects; 2) firearm possession is conduct

protected by the Second Amendment’s plain text; 3) and the history and

tradition of firearm regulation does not support Mr. Rice’s

disarmament. This Court should reverse the District Court’s finding

that Mr. Rice’s prosecution under § 922(g)(1) does not offend the Second

Amendment. Alternatively, it should remand for proper consideration of

the history and tradition at Bruen’s second prong, specifically, whether

§ 922(g)(1) addressed a long-standing social problem dating from 1791.

See Atkinson, 70 F.4th at 1023.

     Section 922(g)(1) is a categorical status prohibition. All persons

convicted of a qualifying criminal offense, are prohibited from firearm

possession and subject to criminal sanction for doing so. Currently, the

statute imposes a fifteen-year maximum prison term. See 18 U.S.C. §

924(a)(8). In Mr. Rice’s case, § 922(g)(1) applied because of his two

Indiana driving related offenses.

     The District Court erred in finding that the government had

carried its historical burden at Bruen’s second prong by analogizing to


                                       21
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



early republic capital punishment for certain felony convictions and

estate forfeiture. Neither are historical analogues to § 922(g)(1)’s

application generally and in Mr. Rice’s case specifically.

     Indeed, the government offered historical analogues, but it did not

address, nor did the District Court consider, whether “§ 922(g)(1)

addresses a ‘general societal problem that has persisted since the 18th

century?’ If this problem existed during a relevant historical period, did

earlier generations address it with similar or ‘materially different

means?” Atkinson, 70 F.4th that 1023. The District Court did not

engage the “proper inquiry, [this Court has explained], [which] should

focus on how the substance of the historical examples compares to §

922(g)(1).” Id. at 1024. The substance of § 922(g)(1), applying to all

felony convictions does not compare to 1791-orietented restrictions.

     To be clear, under Bruen, § 922(g)(1) violates the Second

Amendment as-applied to Mr. Rice, or indeed, anyone, regardless of

their specific criminal history. The statute’s scope and extent is not

rooted in the nation’s history and tradition of firearm regulation. As a

result, the government has not been able to demonstrate that that

founding-era history supports the permanent disarming and criminal


                                       22
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



prosecution of those persons convicted of any offense punishable by a

prison term exceeding one year.

                   VI.   STANDARD OF REVIEW

     This Court has applied the de novo standard of review to a Second

Amendment challenge to a statute. See United States v. Meza-

Rodriguez, 798 F.3d 664, 668 (7th Cir. 2015).

     Because Mr. Rice raised a constitutional challenge to § 922(g)(1)

before the District Court, his challenge is not subject to plain error

review. See Miles, 86 F.4th at 740. In addition, Mr. Rice may bring a

constitutional challenge on direct appeal without a conditional plea

under Rule 11 of the Federal Rules of Criminal Procedure. See e.g.,

Class v. United States, 583 U.S. 798, 806 (2018) (internal citations

omitted) (the Supreme Court permitting a direct-appeal challenging the

constitutionality of a statute after a guilty plea, and holding that

Federal Rule of Criminal Procedure 11(a)(2) does control the procedure

for raising a direct appeal challenging a statute’s constitutionality);

compare with Oliver v. United States, 951 F.3d 841, 847 (7th Cir. 2020)

(this Court holding that Class does not apply when a defendant-




                                       23
       Case: 23-2891   Document: 12       Filed: 12/21/2023   Pages: 93



appellant waives a constitutional challenge to collaterally attack a

statute through an express plea agreement waiver provision).

                           VII. ARGUMENT

     The Second Amendment of the United States Constitution reads:

“A well regulated Militia, being necessary to the security of a free State,

the right of the people to keep and bear Arms, shall not be infringed.”

Like all constitutional rights, the Second Amendment right to keep and

bear arms, however, is not unlimited. See Atkinson, 70 F.4th at 1020

(citing Heller, 554 U.S. at 626). Through Bruen, the Supreme Court

articulated the text and history standard: “Accordingly, when the

Second Amendment’s ‘plain text’ covers the regulated conduct, the

government has only one way to defend the regulation—by proving that

it is ‘consistent with this Nation’s historical tradition of firearm

regulation.’” Id. (quoting Bruen, 142 S. Ct. at 2126).

     In Bruen, the Supreme Court stated when a firearm regulation is

covered by the Second Amendment’s plain text, the government may

only “justify its regulation by demonstrating that it is consistent with

the Nation’s historical tradition of firearm regulation.” 142 S. Ct. at

2129-30. The government carries the burden of “affirmatively proving


                                        24
       Case: 23-2891   Document: 12       Filed: 12/21/2023   Pages: 93



that its firearms regulation is part of the historical tradition that

delimits the outer bounds of the right to keep and bear arms.” Id. at

2127. Only then may a court conclude that the individual’s conduct falls

outside of the Second Amendment’s ““unqualified command.’” Id. at

2126 (citing Konigsberg v. State Bar of Cal., 366 U.S. 36, 50 n.10

(1961)).

     As to Second Amendment history, not all history is equal. “Bruen

directs [a reviewing court to] canvass these historical periods for similar

regulations.” Atkinson, 70 F.4th at 1020. “When a challenged regulation

addresses a general societal problem that has persisted since the 18th

century, the lack of a distinctly similar historical regulation addressing

that problem is relevant evidence that the challenged regulation is

inconsistent with the Second Amendment.” Id. at 1021 (internal

citations omitted). “So too if the Founders used materially different

means to address the same problem.” Id. “And if some jurisdictions

actually attempted to enact analogous regulations during this

timeframe, but those proposals were rejected on constitutional grounds,

that rejection surely would provide some probative evidence of

unconstitutionality.” Id.


                                        25
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



     In Bruen, the Supreme Court explained that constitutional rights

“are enshrined with the scope they were understood to have when the

people adopted them.” 142 S. Ct. at 2136. Accordingly, the Supreme

Court has “generally assumed” that the scope of the Second Amendment

right is pegged to the historical tradition “when the Bill of Rights was

adopted in 1791.” Id. at 2137.

     Courts may also look to historical precedent “before” and “even

after the founding,” but they should do so with caution. Id. at 2131-32.

For example, “[h]istorical evidence that long predates” the Founding

“may not illuminate the scope of the [Second Amendment] right if

linguistic or legal conventions changed in the intervening years.” Id. at

2136. Similarly, a reviewing court “must be careful when assessing

evidence concerning English common-law rights.” Id. In addition, a

reviewing court “must also guard against giving postenactment history

more weight than it can rightly bear.” Id. “Thus, post-ratification

adoption or acceptance of laws that are inconsistent with the original

meaning of the constitutional text obviously cannot overcome or alter

that text.” Id. (internal citations omitted).“Therefore, whether modern

and historical regulations impose a comparable burden on the right of


                                       26
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



armed self-defense and whether that burden is comparably justified are

central considerations when engaging in an analogical inquiry” under

the Second Amendment. Id. at 2133.

A. Congress passed § 922(g)(1) to keep firearms out of the hands
of the public generally.

     It is worth briefly considering § 922(g)(1)’s origins. “Before the

New Deal Revolution, Congress was powerless to regulate gun

possession and use.” Range, 69 F.4th at 108 (Porter, J., concurring)

(citing United States v. Cruikshank, 92 U.S. 542, 55 (1875); Presser v.

Illinois, 116 U.S. 252, 265 (1886)). In 1938, the New Deal

transformative shift entered the Second Amendment context when

Congress passed a precursor to § 922(g)(1). It was in that statute that

Congress created “the first federal [law] disqualifying felons from

possessing firearms . . . .” United States v. Skoien, 614 F.3d 638, 640

(7th Cir. 2010). At that time, the statute “covered only a few violent

offenses,” id., such as prohibiting firearm possession by those convicted

of crimes such as murder, rape, kidnapping, and burglary. See id.

“Indeed, the current federal felony firearm ban differs considerably

from the version of the proscription in force just half a century ago.” Id.

Thus, to the extent Congress had initially disarmed, it did so based on

                                       27
       Case: 23-2891   Document: 12       Filed: 12/21/2023   Pages: 93



criminal conviction severity, rather than applying broadly to any felony

conviction. For example, the instant statute as originally constructed

would not have imputed criminal liability on Mr. Rice’s firearm

possession as a non-violent felon. See Range, 69 F. 4th at 104.

     It was not until 1961, that Congress amended the statute to

prohibit “possession by all felons.” Skoien, 614 F.3d at 640. Seven years

later, “Congress changed the ‘receipt’ element of the 1938 law to

‘possession,’ giving [§ 922(g)(1)] its current form.” Id. Thus § 922(g)(1)

was passed a century and a half after adoption of the Second

Amendment. And, for the first time, prohibited felons’ possession

without conviction distinction.

     Congress’s purpose in “enact[ing] the [assorted] exclusions in [18

U.S.C.] § 922(g) [may have been] to keep guns out of the hands of

presumptively risky people” but the prohibitions applied maximally to

reduce the availability of firearms nationally. United States v. Yancey,

621 F.3d 681, 683 (7th Cir. 2010). Indeed, when Congress enacted the

various prohibitions under § 922(g), it was concerned with the

“widespread traffic in firearms and with their general availability to

those whose possession thereof was contrary to the public interest.”


                                        28
       Case: 23-2891   Document: 12       Filed: 12/21/2023   Pages: 93



Huddleston v. United States, 415 U.S. 816, 824 (1974). “Congress

determined that the ease with which firearms could be obtained

contributed significantly to the prevalence of lawlessness and violent

crime in the United States.” Id. The 1968 and current version of the

statute was “thus aimed at restricting public access to firearms.” Id.

(emphasis added). It is with that broad, public restriction in mind that

the statute was applied to Mr. Rice. To keep firearms from being widely,

publicly, available, Congress, in 1968, drastically expanded federal

firearms status enforcements beyond any founding-era notions.

B. Mr. Rice’s conduct of possession of a firearm falls within the
Second Amendment’s plain text.

     The Second Amendment protects the right to keep and bear arms,

and would, certainly, apply to Mr. Rice’s conduct of possession of a

firearm. See Heller, 554 U.S. at 582 “([T]he Second Amendment extends

prima facie, to all instruments that constitute bearable arms . . . .’).

Accordingly, Mr. Rice’s conduct of firearm possession is protected by the

Second Amendment. See Range, 69 F.4th at 103 (finding the “easy”

question of whether 922(g)(1)’s regulated conduct falls within the

Second Amendment’s plain text.); United States v. Rahimi, 61 F.4th

443, 454 (5th Cir. 2023) (finding 18 U.S.C. § 922(g)(8) (prohibited

                                        29
       Case: 23-2891   Document: 12       Filed: 12/21/2023   Pages: 93



firearm possession by those subject to a domestic restraining order)

unconstitutional) (noting that “Rahimi’s possession of a pistol and a

rifle easily falls within the purview of the Second Amendment.”).

     Numerous district courts have reached the same conclusion,

finding that firearm possession is Second Amendment protected at

Bruen’s first prong. See United States v. Forbis, --- F. Supp. 3d ---, 2023

WL 5971142, *3 (N.D. Okla. Aug. 17, 2023) (finding § 922(g)(1)

unconstitutional as-applied, and concluding the conduct of firearm

possession is constitutionally protected at Bruen’s first step); United

States v. Bullock, --- F. Supp. 3d ---, 2023 WL 4232309, at *19-20 (S.D.

Miss. June 28, 2023) (same); United States v. Quailes, --- F. Supp. 3d ---,

2023 WL 5401733, *8 (E.D. Pa. Oct. 21, 2023) (same); United States v.

Harper, No. 1:21-CR-0236, 2023 WL 5672311, at *6 (E.D. Pa. Sept. 1,

2023) (same), (noting Range’s finding that the Second Amendment

applied to a request to possess a firearm); United States v. Prince, No.

22 CR 240, 2023 WL 7220127, *4-5 (N.D. Ill. Nov. 2, 2023) (finding §

922(g)(1) facially unconstitutional and concluding that possession of a

firearm by a felon is Second Amendment protected at Bruen’s first

prong); United States v. Griffin, Case No. 21-cr-00693, 2023 WL


                                        30
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



8281563, *4 (N.D. Ill. Nov. 30, 2023) (finding that firearm possession

and restricting firearm possession protected by the Second

Amendment’s plain text at Bruen’s first prong); United States v. Salme-

Negrete, Case No. 1:22-cr-00637, 2023 WL 7325888, *5 (N.D. Ill. Nov. 7,

2023) (finding § 922(g)(1) unconstitutional as-applied, and finding the

Second Amendment protects the act of firearm possession); United

States v. Diaz, Case No. 1:20-cr-00597, 2023 WL 8019691, *5 (N.D. Ill.

Nov. 20, 2023) (same); United States v. Leblanc, --- F. Supp.3d ----, 2023

WL 8756694, at *5 (M.D. La. Dec. 19, 2023) (finding § 922(g)(1)

unconstitutional as-applied and that the Second Amendment’s plain

text regulated the possession prohibition).

     Indeed, the conduct prohibited by § 922(g)(1), firearm possession

for any purpose including in the home or on the person for defensive

purposes, falls within the central protection of the Second Amendment.

See Bruen, S. Ct. at 2133. Considering the extent to which § 922(g)(1)

burdens and restrains the right to self-defense, the statute falls within

the Second Amendment. See Quailes, WL 5401733, *1 (the district court

holding that § 922(g)(1) violates the Second Amendment as applied to a

defendant with four recent drug trafficking convictions, and rejecting


                                       31
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



the government’s argument that the defendant must demonstrate that

his possession was related to self-defense in the first instance).

     The government may rely on language in Heller, that felon

disarming laws are “presumptively lawful,” see 554 U.S. at 627 n.26,

and Justice Kavanaugh’s Bruen concurrence’s endorsement of that

language. 142 S. Ct. at 2162. However, the question of conviction

disarmament laws’ constitutionality was not presented in Heller.

Indeed, this Court has not treated Heller’s “presumptively lawful”

language as foreclosing § 922(g)(1) review. See e.g., Skoien, 614 F.3d at

640 (this Court reasoning that a reviewing court should “not . . . treat

Heller as containing broader holdings than the Court set out to

establish . . . . What other entitlements the Second Amendment creates,

and what regulations legislatures may establish, were left open.”).

Further, in Heller, the Supreme Court described felon-disarmament

laws as “longstanding,” 554 U.S. at 626, however it “never actually

addressed the historical pedigree” of those laws.” Kanter, 919 F.3d at

445. The Supreme Court, in other words, did not even claim it had

surveyed the relevant history and discovered a (robust but undisclosed)

tradition of felon-disarmament laws dating back to the founding-era.


                                       32
      Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



Rather, it simply asserted such laws were longstanding, and therefore

presumptively lawful. In fact, felon-disarmament laws are not

longstanding—at least not in the sense that Bruen would use that term

as demonstrating an unbroken historical chain animating from the

Founding. As stated above, Congress did not pass the federal statute at

issue here until 1938, and it was not until the 1960s that Congress

amended the statute to cover a defendant such as Mr. Rice and his

concomitant criminal history. Accordingly, the government will not be

able to rely on Heller’s “presumptively lawful” language.

C. Mr. Rice remains part of “the People” the Second
Amendment protects.

      The government, including before the District Court here, has

argued that Supreme Court precedent establishes that felons, such as

Mr. Rice, are not among “the People” the Second Amendment protects.

That position cannot be squared with the Supreme Court’s and this

Court’s prior precedent.

     In Heller, the Supreme Court described the term “the people” to

“refer[ ] to a class of persons who are part of a national community or

who have otherwise developed sufficient connection with this country to

be considered part of that community.” 554 U.S. at 580 (citing United

                                      33
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



States v. Verdugo–Urquidez, 494 U.S. 259, 265 (1990)). In Heller, the

Supreme Court began with a “strong presumption that the Second

Amendment right is exercised individually and belongs to all

Americans.” Id. at 581 (emphasis added); see also Rahmi, 614 F. 4th at

451 (the Fifth Circuit reasoning that “Heller’s exposition of ‘the people’

strongly indicates that Rahimi is included in ‘the people’ and thus

within the Second Amendment’s scope” notwithstanding his pending

domestic protective order).

     In fact, “Heller and Bruen did not hold that the Second

Amendment categorically protects only law-abiding citizens . . . .

[the] Heller Court explained that ‘the [P]eople’ as used throughout the

Constitution ‘unambiguously refers to all members of the political

community, not an unspecified subset.’” Diaz, 2023 WL 8019691, *5

(quoting Heller, 554 U.S. at 580) (emphasis in original). This Court, in

addition, has not broadly found felons to be categorically excluded from

Second Amendment protection. See e.g., Meza-Rodriguez, 798, F.3d at

669 (internal citations omitted) (this Court noted that [w]hile some of

Heller’s language does link Second Amendment rights with the notions

of law-abiding citizens and members of the political community, those


                                       34
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



passages did not reflect an attempt to define the term people.”); see also

Skoien, 614 F.3d at 648.

     Moreover, finding that the term “the People” is different in the

Second Amendment context than elsewhere in the Bill of Rights would

contravene the Supreme Court’s command that the Second Amendment

is coextensive with other Bill of Rights protections. See Bruen, 142 S.

Ct. at 2156 (the Supreme Court noting that the “constitutional right to

bear arms in public for self-defense is not ‘a second-class right, subject

to an entirely different body of rules than the other Bill of Rights

guarantees.”’) (quoting McDonald v. City of Chicago, 561 U.S. 742, 780

(2010)); see also Range, 69 F.4th at 102 (the Third Circuit reasoning

that “[u]nless the meaning of the phrase ‘the people’ varies from

provision to provision—and the Supreme Court in Heller suggested it

does not—to conclude that Range is not among ‘the people’ for Second

Amendment purposes would exclude him from those rights as well. And

we see no reason to adopt an inconsistent reading . . . .” (internal

citation omitted); see also United States v. Daniels, 77 F.4th 337, 342

(5th Cir. 2023) (the Fifth Circuit finding 18 U.S.C. § 922(g)(3)

(prohibited firearm possession by a controlled substance user)


                                       35
       Case: 23-2891    Document: 12       Filed: 12/21/2023   Pages: 93



unconstitutional as-applied under Bruen and analogizing the Second

Amendment to other Bill of Rights provisions and by noting: “[T]he Bill

of Rights uses the phrase ‘the people’ five times. In each place, it refers

to all members of our political community, not a special group of upright

citizens . . . even as a marihuana user, Daniels is a member of our

political community. Therefore, he has a presumptive right to bear

arms.”).

      The government may argue that the term ‘the People’ is supported

by citation to ‘law abiding” and ‘responsible persons.’ But, grounding

constitutional protections with concepts such as “law abiding” or

“responsible citizen” would create an unworkable standard. See Range,

69 F.4th at 102 (the Third Circuit reasoning that “the phrase law-

abiding, responsible citizens is as expansive as it is vague. Who are law-

abiding” citizens in this context? Does it exclude those who have

committed summary offenses or petty misdemeanors, which typically

result in a ticket and a small fine? No.”); see also id. at 102-03 (“[a]t root,

the Government’s claim that only law-abiding, responsible citizens are

protected by the Second Amendment devolves authority to legislators to

decide whom to exclude from “the people.” We reject that approach


                                         36
       Case: 23-2891   Document: 12    Filed: 12/21/2023   Pages: 93



because such extreme deference gives legislatures unreviewable power to

manipulate the Second Amendment by choosing a label.”); see also

Bullock, 2023 WL 4232309, *21 (internal citation omitted) (reasoning

that the defendant despite his crime of violence and drug distribution

offenses remained part of “the People” the Second Amendment protected

because “our Republic of over 330 million people, Americans have widely

divergent ideas about what is required for one to be considered a

responsible citizen” and concluding that a law abiding and responsible

citizen standard unworkable.”). Mr. Rice, too, remains among “the

People” the Second Amendment protects. To conclude he is not, based on

a determination he is not law abiding or responsible would give Congress

the very means-end balancing and decision-making authority Bruen

vitiated.

D. The government cannot affirmatively show that Mr. Rice’s
disarming is rooted in the nation’s founding-era history and
traditions.

     If the conduct at issue falls within the Second Amendment’s plain

text, the conduct is presumed constitutionally protected. See Bruen, 142

S. Ct. at 2126. To rebut the presumption of unconstitutionality, Bruen

held, “the government may not simply posit that [a] regulation


                                      37
         Case: 23-2891   Document: 12     Filed: 12/21/2023   Pages: 93



promotes an important interest.” Id. “Rather, the government must

demonstrate that the regulation is consistent with this Nation’s

historical tradition of firearm regulation.” Id. If the government cannot

do so, the challenged statute violates the Second Amendment. See id. if

there are “multiple plausible interpretations” of a piece of historical

evidence, courts should “favor the one that is more consistent with the

Second Amendment’s command.” Id. at 2141 n.11. In other words,

where “history [is] ambiguous at best,” the challenged statute is

unconstitutional. Id. at 2139.

        The government must also proffer history that is both “well-

established” and “representative.” Id. at 2133. A few statutes or cases

from a small number of “outlier jurisdictions” do not constitute a

historical tradition. Id. at 2153, 2156. Bruen expressed “doubt,” for

instance, that “three colonial regulations” would be sufficient to satisfy

the government’s burden. Id. at 2142. Moreover, even if certain statutes

were widespread, courts should not consider them determinative unless

the historical record reveals the statutes were actually “enforced.” Id. at

2149.




                                        38
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



     The operative question, therefore, is whether the “modern and

historical regulations are relevantly similar, including in terms of how

and why the regulations burden gun rights.” Atkinson, 70 F.4th at 1024.

     1. The District Court erred in finding that the government
        proffered sufficient historical evidence that § 922(g)(1)’s
        application to Mr. Rice was consistent with the national
        historical tradition of firearm regulation.

     The District Court concluded that the government had satisfied its

affirmative historical burden based on analogizing capital punishment

and estate forfeiture to § 922(g)(1). See App. p. 27 (discussing

disarmament under § 922(g)(1) as lenient). In Range, the Third Circuit

held neither functioned as a proper or sufficient historical analogue. 69

F.4th at 103.

     As to capital punishment, Range noted that notwithstanding

“[f]ounding-era governments punished some nonviolent crimes with

death does not suggest that the particular (and distinct) punishment at

issue—lifetime disarmament—is rooted in our Nation’s history and

tradition.” Id. Indeed, Range stated that “[t]he greater does not

necessarily include the lesser: founding-era governments’ execution of

some individuals convicted of certain offenses does not mean the State,

then or now, could constitutionally [permanently] strip a felon of his

                                       39
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



right to possess arms if he was not executed.”). Capital punishment fails

as a regulatory analogue, as noted in Range, because the deprivation

would flow from the punishment itself, not the status of conviction. See

id. at 105; see also Prince, 2023 WL 7220127, *10 (reasoning that

firearm “dispossession” under § 922(g)(1) functions as a “consequence”

of the conviction, “rather than punishment.”). And, the practice of

punishing some felony offenses with death does not suggest that there

is a historical practice of permanently disarming all felony-level

convictions. See e.g., Prince, 2023 WL 7220127, *10 (reasoning that

“historical regulations that tied an individual’s felony conviction to

severe consequences (capital punishment and estate forfeiture) imposed

punishment for the individual’s crime, making them distinct from §

922(g)(1).”).

      The government’s reliance on estate forfeiture laws additionally

fail. To begin, the English doctrine of felony estate forfeiture never “took

hold in the United States.” Austin v. United States, 509 U.S. 602, 613

(1993). And although “[f]ounding-era laws often prescribed the

forfeiture of the weapon used to commit a firearms-related offense,”

such laws did not “affect[] the perpetrator’s right to keep and bear arms


                                       40
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



generally.” Range, 69 F.4th at 105. As noted in Range, the “government

confiscation of the instruments of crime (or a convicted criminal’s entire

estate) differs from a status-based lifetime ban on firearm possession.”

Id. Furthermore, as noted in Range, estate forfeiture did not preclude

the convicted person from reacquiring his property, including his

firearm, after his sentence had been completed, and societal debt paid.

See id. Unlike § 922(g)(1), estate forfeiture did not function as a

permanent status restriction or loss of possessory rights. See Prince,

2023 WL 7220127, *10 (internal citation omitted) (the district court

reasoning that though it “agrees with the D.C. Circuit in Medina that

capital punishment and estate forfeiture laws imposed severe

consequences on certain felons, it also agrees with the Third Circuit in

Range that these consequences do not suggest that the particular (and

distinct) punishment at issue—lifetime disarmament—is rooted in our

Nation’s history and tradition.”).

     a.) Colonial and early state laws.

     Though the District Court in this case did not rely on colonial and

early state provisions, it is worth noting here why those provisions fail.




                                       41
      Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



      “[A]t no time between 1607 and 1815 did the colonial or state

governments of what would become the first fourteen states exercise a

police power to restrict the ownership of guns by members of the body

politic.” Robert H. Churchill, Gun Regulation, the Police Power, and the

Right to Keep Arms in Early America: The Legal Context of the Second

Amendment, 25 Law & Hist. Rev. 139, 142, 143 & n.11 (2007).

Similarly, “state laws prohibiting felons from possessing firearms or

denying firearms licenses to felons date from the early part of the

twentieth century” not the Founding. Carlton F.W. Larson, Four

Exceptions in Search of A Theory: District of Columbia v. Heller and

Judicial Ipse Dixit, 60 Hastings L.J. 1371, 1376 (2009). “[O]ne can with

a good degree of confidence say that bans on convicts possessing

firearms were unknown before World War I.” C. Kevin Marshall, Why

Can’t Martha Stewart Have A Gun?, 32 Harv. J. L. & Pub. Pol’y 695,

708 (2009); see also Franklin E. Zimring, Firearms and Federal Law:

The Gun Control Act of 1968, 4 Journal of Legal Studies 133, 135

(1975); see also Adam Winkler, Heller’s Catch-22, 56 UCLA L. Rev.

1551, 1563 (2009) (“[b]ans on ex-felons possessing firearms were first

adopted in the 1920s and 1930s, almost a century and a half after the


                                      42
       Case: 23-2891   Document: 12       Filed: 12/21/2023   Pages: 93



Founding.”); see also Nelson Lund, The Second Amendment, Heller, and

Originalist Jurisprudence, 56 UCLA L. Rev. 1343, 1357 (2009) (noting

“the absence of historical support for the claim that [felon-disarmament

laws] are consistent with the preexisting right to arms”); Lawrence

Rosenthal, The Limits of Second Amendment Originalism and the

Constitutional Case for Gun Control, 92 Wash. U. L. Rev. 1187, 1211

(2015) (“prohibitions on the possession of firearms by convicted felons

emerged early in the twentieth century in response to a crime wave

following the First World War.”).

     In short, there was no “historical tradition,” circa 1791, of gun

regulations similar to § 922(g)(1). Bruen, 142 S. Ct. at 2130-31. The

“Founders themselves could have adopted” laws like § 922(g)(1) to

“confront” the “perceived societal problem” posed by felons, or as is the

case here, a non-violent felon. Id. at 2131. Nonetheless, they declined to

do so, and that inaction indicates § 922(g)(1) “[i]s unconstitutional.” Id.

In addition, based on the facts presented here, the Founding

generation’s lack of a firearm restriction or criminalization of firearm

possession by a non-violent felon, or to all felons, shows that 922(g)(1)’s




                                        43
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



application here violates Mr. Rice’s Second Amendment rights as §

922(g)(1) is not rooted in founding-era history.

     To that end, though not dispositive before the District Court, the

government cannot resort to state ratifying conventions. R. 33, pp. 18-

20. The government offered three ratifying provisions, but those

suggestions were not added into the Second Amendment text. To the

extent those ratifying conventions would have included a similar

restriction to § 922(g)(1) in the Second Amendment text, that the

language was considered and rejected is probative of 922(g)(1)

unconstitutionality. See e.g., Bruen, 142 S. Ct. at 2131 (the Supreme

Court reasoning that if a jurisdiction “actually attempted to enact

analogous regulations during this timeframe, but those proposals were

rejected on constitutional grounds, that rejection surely would provide

some probative evidence of unconstitutionality.”). In addition, the

government’s reference of considered, but not adopted proposals, runs

head long into the how this Court has instructed a lower court to weigh

historical evidence and which sources of historical evidence are most

probative. See Atkinson, 70 F.4th at 1021.




                                       44
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



     Further, as an analogy, the potential danger posed by felons’

access to firearms would have been neither unprecedented nor

unimaginable to the Founders. Nor would the regulation of firearm

possession based on felony-severity be unimaginable at the time of the

Founding. That the Founding generation did not criminalize firearm

possession for non-violent felony offenders shows that Mr. Rice’s

prosecution is inconsistent with the national history and tradition of

firearm regulation. The societal concern regarding criminality surely

existed in 1791, that the founding-era treated the issue materially

differently and with greater Second Amendment circumscription shows

§ 922(g)(1) is not rooted in founding-era history.

     Rather, “[t]he historical evidence does, however, support a

different proposition: That founding-era legislatures disarmed those

who had demonstrated a proclivity for violence or whose possession of

guns would otherwise threaten the public safety.” Kanter, 919 F.3d at

454 (Barrett, J., dissenting) (emphases added). At best, the founding-

era felony history is inclusive, which favors Mr. Rice’s challenge. See

e.g., United States v. Chester, 628 F.3d 673, 679 (4th Cir. 2010) (stating

that ”[f]ederal felon dispossession laws . . . were not on the books until


                                       45
       Case: 23-2891    Document: 12       Filed: 12/21/2023   Pages: 93



the twentieth century, and the historical evidence and scholarly writing

on whether felons were protected [or not] by the Second Amendment at

the time of its ratification is inconclusive”).

      Mr. Rice’s criminal history evinces no proclivity for violence. If the

how and why, or purpose, of early firearm regulation was to disarm

violent members of the community to preserve community harmony and

safety, § 922(g)(1), goes far beyond that historical tradition. See Kanter,

919 F.3d at 454. In 1791, there was no “well-established” or

representative practice of barring all felons from possessing firearms.

Accordingly, Mr. Rice’s disarmament and prosecution violates the

Second Amendment. Bruen, 142 S. Ct. at 2133.

      b.) Loyalty laws.

      In addition, as stated above, though the District Court here found

that the government had carried its Bruen historical burden, through

capital punishment and estate and forfeiture laws, it is worth

mentioning that the government’s proffer of colonial and Revolutionary

War loyalty laws would also fail. See R. 33, p. 16.

      In Range, the Third Circuit rejected such history, as many such

restrictions were grounded in religious expression, race, or tribal


                                         46
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



affiliation, and consequently, would be unconstitutional today. 69 F.4th

at 104-05. Furthermore, in Range, the Court stated that those kinds of

restrictions, were not analogous to § 922(g)(1) or Mr. Rice’s

disarmament because those restrictions were based on founding-era

“distrust” and the practice of “disarming groups” early legislatures

disfavored. Id. at 105. Those limited examples of “Founding-era

governments disarm[ing] groups they distrusted like Loyalists . . . does

nothing to prove that [Mr. Rice]” is or would be “part of a similar group

today.” Id. Therefore, “any such analogy would be far too broad” Id.

(internal quotation marks omitted). Specifically, those analogies fail as

they would not algin with the how and why legislatures disarmed non-

loyalists during the Revolutionary War period, charged with protection

of the nascent state, compared with the how and why Congress

disarmed under § 922(g)(1), to reduce the availability of firearms

generally. See id.

     2. The District Court failed to apply the historical evidence
        consistent with Atkinson.

     As to the types of evidence, this Court in Atkinson cautioned that

the government carries a legitimate, substantial historical burden

under Bruen and the Court must hold the government to that burden.

                                       47
       Case: 23-2891     Document: 12    Filed: 12/21/2023   Pages: 93



70 F.4th at 1022. The proper historical inquiry is thus whether the

substance of the historical examples evinces a comparable pattern of

firearm limitation as the challenged restriction. See id. at 1024. To the

extent possible, a reviewing court should consider any details regarding

the “history of enforcement, impact, or judicial scrutiny of these

[proffered] laws . . . .” Id.

      Here, the government attempted to satisfy its burden by

analogizing to capital punishment (an approach rejected in Range) and

estate forfeiture. But the government offered little actual evidence as to

how those comparisons were putatively similar to § 922(g)(1), or more

critically how those comparisons measured against Mr. Rice’s criminal

history as a basis for permanent disarmament. That will not do under

Atkinson, where the proffered history must offer sufficient detail

including judicial treatment, as to the historical nexus between the

regulation today and the historical tradition. Simply listing analogues

is not adequate. See Atkinson, F.4th at 1024 (“The parties should not

stop at compiling lists of historical firearms regulations and practices.”).

      Furthermore, the government proffered history principally

through law review citations without an analysis or explanation of


                                        48
       Case: 23-2891   Document: 12       Filed: 12/21/2023   Pages: 93



whether § 922(g)(1) or Mr. Rice’s criminal disarmament was based “on a

general societal problem that has persisted since the 18th century” or

whether it may proceed by analogy because the issue presented was

unprecedented at the time of the founding. Id. at 1023. The government

here made no effort to distinguish the two, and the District Court failed

to apply the proper historical methodology.

     Furthermore, the District Court did not address, and consequently

resolve, the question of whether either § 922(g)(1) or Mr. Rice’s conduct

addressed an 18th century general societal concern, and if so, whether

the concern was addressed through materially different means. In

Atkinson, the Court stated that this issue needed to be resolved in the

first instance at Bruen’s second step. See e.g., id. (internal citations

omitted) (directing the district court to consider the question of does “§

922(g)(1) address a general societal problem that has persisted since the

18th century? If this problem existed during a relevant historical

period, did earlier generations address it with similar or ‘materially

different means?”).

     This is not to suggest that the government may never meet its

Bruen burden or that its burden is insuperable. The above, rather, is


                                        49
       Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



offered to show that its effort in Mr. Rice’s case was inconsistent with

Bruen and Atkinson and falls short of what this Court now requires as

historical evidence to justify deprivation of the exercise of protected

Second Amendment interests. Mr. Rice asks this Court to remand for

proper consideration of Bruen’s second prong applying the appropriate

methodology and evidentiary scrutiny.

                          VIII. CONCLUSION

     For the foregoing reasons, Mr. Rice asks this Court to reverse the

District Court’s denial of his motion to dismiss. This Court should

reverse the District Court’s ruling that § 922(g)(1) facially and as

applied did not violate the Second Amendment.

     Alternatively, Mr. Rice asks this Court to remand for proper

consideration of the remaining portion of the Bruen test --- whether §

922(g)(1) is consistent with the nation’s history and tradition of firearm

regulation.

       IX.    STATEMENT CONCERNING ORAL ARGUMENT

     Pursuant to Rule 34(a) of the Federal Rules of Appellate

Procedure and Circuit Rule 34(f), Mr. Rice requests oral argument.

Given the recency of the Bruen framework, and the limited case law


                                       50
       Case: 23-2891     Document: 12      Filed: 12/21/2023   Pages: 93



addressing § 922(g)(1)’s constitutionality, Mr. Rice submits that oral

argument will assist this Court’s review of the District Court’s denial of

his motion to dismiss.

Date: December 21, 2023
                                    Respectfully submitted,

                                    Northern District of Indiana
                                    Federal Community Defenders, Inc.

                                    By:    s/Chad J. Pennington
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                                          51
      Case: 23-2891   Document: 12      Filed: 12/21/2023   Pages: 93



CERTIFICATE OF COMPLIANCE WITH FRAP RULE 32(a)(7)(C)

     The undersigned certifies that this brief complies with the volume

limitations of Federal Rule of Appellate Procedure 32(a)(7)(C) and

Circuit Rule 32 in that it contains 10,091 words as shown by Microsoft

Word for Microsoft 365 used in preparing this brief.



Date: December 21, 2023

                                 s /Chad J. Pennington
                                 Chad J. Pennington, Attorney for
                                 Defendant-Appellant Mattew Rice




                                      52
      Case: 23-2891    Document: 12     Filed: 12/21/2023   Pages: 93



                      CERTIFICATE OF SERVICE

     I hereby certify that on December 21, 2023, I electronically filed

the foregoing with the Clerk of the Court for the United States Court of

Appeals for the Seventh Circuit by using the CM/ECF system. I certify

that all participants in the case are registered CM/ECF users and that

service will be accomplished by the CM/ECF system.

                                  s /Chad J. Pennington
                                  Chad J. Pennington, Attorney for
                                  Defendant-Appellant Matthew Rice




                                      53
      Case: 23-2891   Document: 12         Filed: 12/21/2023    Pages: 93


                                No. 23-2891

                  UNITED STATES COURT OF APPEALS
                     FOR THE SEVENTH CIRCUIT


UNITED STATES OF AMERICA,
         Plaintiff-Appellee,

          v.

MATTHEW RICE
        Defendant-Appellant



                 Appeal from the United States District Court
                     for the Northern District of Indiana
                             Case No. 3:22-CR-36
                    The Honorable Judge Jon E. DeGuilio




                ATTACHED REQUIRED SHORT APPENDIX
               OF DEFENDANT-APPELLANT MATTHEW RICE




                                   Northern District of Indiana Federal
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      Case: 23-2891            Document: 12                 Filed: 12/21/2023            Pages: 93


                       TABLE OF CONTENTS FOR APPENDIX

1.   Certificate of Compliance with Circuit Rule 30 .........................................App. 1

2.   Indictment [DE 10] entered May 11, 2022, in the United States District
     Court for the Northern District of Indiana, South Bend Division in
     Case No. 3:22-CR-36 ...................................................................................App. 2

3.   Judgment in a Criminal Case [DE 64] entered September 21, 2023, in
     the United States District Court for the Northern District of Indiana,
     South Bend Division in Case No. 3:22-CR-36 ............................................App. 4

4.   Opinion and Order [DE 40] entered March 17, 2023, in the United
     States District Court for the Northern District of Indiana, South Bend
     Division in Case No. 3:22-CR-36 ..............................................................App. 10
      Case: 23-2891   Document: 12     Filed: 12/21/2023   Pages: 93




  CERTIFICATE OF COMPLIANCE WITH CIRCUIT RULE 30

     The undersigned counsel hereby states that all of the materials

required by Circuit Rule 30(a) and 30(b) are included in the Appendix.


Date: December 21, 2023

                                 s /Chad J. Pennington
                                 Chad J. Pennington, Attorney for
                                 Defendant-Appellant Matthew Rice




                                                                       App. 1
      Case: case
USDC IN/ND  23-2891     Document: 12
                 3:22-cr-00036-JD-MGG   Filed: 12/21/2023
                                      document               Pages:page
                                                10 filed 05/11/22   93 1 of 2




                                                                       App. 2
      Case: case
USDC IN/ND  23-2891     Document: 12
                 3:22-cr-00036-JD-MGG   Filed: 12/21/2023
                                      document               Pages:page
                                                10 filed 05/11/22   93 2 of 2




                                                                       App. 3
      Case: case
USDC IN/ND  23-2891     Document: 12
                 3:22-cr-00036-JD-MGG   Filed: 12/21/2023
                                      document               Pages:page
                                                64 filed 09/21/23   93 1 of 6


                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF INDIANA

UNITED STATES OF AMERICA
                                                      CASE NUMBER: 3:22CR036-001
                        Plaintiff,
                                                      USM Number: 98364-509
        vs.

MATTHEW RICE                                          SCOTT J FRANKEL - FCD
                                                      DEFENDANT’S ATTORNEY
                        Defendant.


                               JUDGMENT IN A CRIMINAL CASE

THE DEFENDANT pleaded guilty to count 1 of the Indictment on May 3, 2023.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

        Title, Section & Nature of Offense              Date Offense Ended           Count Number

 18:922(g)(1) FELON IN POSSESSION OF A                      April 11, 2022                    1
 FIREARM AND FORFEITURE ALLEGATION


The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Final order of forfeiture filed on August 1, 2023.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within
30 days of any change of name, residence, mailing address or other material change in the
defendant’s economic circumstances until all fines, restitution, costs and special assessments
imposed by this judgment are fully paid.

                                              September 21, 2023
                                              Date of Imposition of Judgment

                                              s/ Jon E. DeGuilio
                                              Signature of Judge

                                              Jon E. DeGuilio, United States District Judge
                                              Name and Title of Judge

                                              September 21, 2023
                                              Date




                                                                                                  App. 4
      Case: case
USDC IN/ND  23-2891     Document: 12
                 3:22-cr-00036-JD-MGG   Filed: 12/21/2023
                                      document               Pages:page
                                                64 filed 09/21/23   93 2 of 6
Case Number: 3:22CR036-001
Defendant: MATTHEW RICE                                                            Page 2 of 6


                                      IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of TIME SERVED.


                                            RETURN

I have executed this judgment as follows:

        Defendant delivered ____________________ to ______________ at ______________,
with a certified copy of this judgment.

                                                         _____________________________
                                                              UNITED STATES MARSHAL

                                                     By: _____________________________
                                                      DEPUTY UNITED STATES MARSHAL




                                                                                     App. 5
      Case: case
USDC IN/ND  23-2891     Document: 12
                 3:22-cr-00036-JD-MGG   Filed: 12/21/2023
                                      document               Pages:page
                                                64 filed 09/21/23   93 3 of 6
Case Number: 3:22CR036-001
Defendant: MATTHEW RICE                                                                   Page 3 of 6




                                  SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 2
years.

                              CONDITIONS OF SUPERVISION

       While on supervision, the defendant shall comply with the following conditions:

1.     You must not commit another federal, state, or local crime.

2.     You must not unlawfully possess a controlled substance.

3.     You must not unlawfully use any controlled substance, including marijuana, and must
       submit to one drug test within 15 days of the beginning of supervision and at least 2
       periodic tests after that for use of a controlled substance.

4.     You must cooperate with the probation officer with respect to the collection of DNA.

5.     You must be lawfully employed full-time (at least 30 hours per week). If you are not
       employed full-time, you must try to find full-time employment under the supervision of the
       probation officer. If you become unemployed, or change your employer, position, or
       location of employment, you must tell the probation officer within 72 hours of the change.
       If after 90 days you do not find employment, you must complete at least 10 hours of
       community service per week until employed or participate in a job skills training program
       approved and directed by your probation officer.

6.     You must report in person to the probation office, in the district which you are released,
       within 72 hours of release from the custody of the Bureau of Prisons. You must report to
       the probation officer in the manner and as frequently as the court or the probation officer
       directs; and you must notify the probation officer within 48 hours of any change in
       residence, and within 72 hours of being arrested or questioned by a police officer.

7.     You must not travel knowingly outside the federal judicial district without the permission of
       the court. Alternatively, the probation officer will grant such permission when doing so will
       reasonably assure the probation officer’s knowledge of your whereabouts and that travel
       will not hinder your rehabilitation or present a public safety risk.

8.     You must truthfully answer any inquiry by the probation officer and must follow the
       instruction of the probation officer pertaining to your supervision and conditions of
       supervision. This condition does not prevent you from invoking the Fifth Amendment
       privilege against self-incrimination.

9.     You must permit a probation officer to meet at your home or any other reasonable location
       and must permit confiscation of any contraband the probation officer observes in plain
       view. The probation officer will not conduct such a visit between the hours of 11:00 p.m.
       and 7:00 a.m. without specific reason to believe a visit during those hours would reveal
       information or contraband that wouldn’t be revealed through a visit during regular hours.




                                                                                            App. 6
      Case: case
USDC IN/ND  23-2891     Document: 12
                 3:22-cr-00036-JD-MGG   Filed: 12/21/2023
                                      document               Pages:page
                                                64 filed 09/21/23   93 4 of 6
Case Number: 3:22CR036-001
Defendant: MATTHEW RICE                                                            Page 4 of 6


10.    You must not meet, communicate, or otherwise interact with persons whom you know to
       be engaged or planning to be engaged in criminal activity.

11.    You must not possess a firearm, ammunition, destructive device, or any other dangerous
       weapon (meaning an instrument designed to be used as a weapon and capable of causing
       death or serious bodily harm).

12.    You must not enter into any agreement to act as an informant or special agent of a law
       enforcement agency without the court’s permission.




                                                                                     App. 7
      Case: case
USDC IN/ND  23-2891     Document: 12
                 3:22-cr-00036-JD-MGG   Filed: 12/21/2023
                                      document               Pages:page
                                                64 filed 09/21/23   93 5 of 6
Case Number: 3:22CR036-001
Defendant: MATTHEW RICE                                                                   Page 5 of 6


                             CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the
schedule of payments set forth in this judgment.

       Total Assessment                      Total Fine                    Total Restitution

              $100                             NONE                             NONE

The defendant shall make the special assessment payment payable to Clerk, U.S. District Court,
102 Robert A. Grant Courthouse, 204 South Main Street, South Bend, IN 46601. The special
assessment payment shall be due immediately.


                                               FINE

No fine imposed.

                                         RESTITUTION

No restitution imposed.



                                         FORFEITURE

The defendant shall forfeit the defendant's interest in the following property to the United States:

1) DERYA ARMS VR-60 Shotgun CAL:12 SN: R101397; and

2) Assorted ammunition.




                                                                                               App. 8
      Case: case
USDC IN/ND  23-2891     Document: 12
                 3:22-cr-00036-JD-MGG   Filed: 12/21/2023
                                      document               Pages:page
                                                64 filed 09/21/23   93 6 of 6
Case Number: 3:22CR036-001
Defendant: MATTHEW RICE                                                                   Page 6 of 6


                                                                         Name: MATTHEW RICE
                                                                      Docket No.: 3:22CR036-001

                 ACKNOWLEDGMENT OF SUPERVISION CONDITIONS


       Upon a finding of a violation of probation or supervised release, I understand that the Court
may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions
of supervision.

        I have reviewed the Judgment and Commitment Order in my case and the supervision
conditions therein. These conditions have been read to me. I fully understand the conditions and
have been provided a copy of them.


       (Signed)
              ____________________________________                __________________
                Defendant                                                Date


               ____________________________________               __________________
                U.S. Probation Officer/Designated Witness                Date




                                                                                            App. 9
      Case:case
USDC IN/ND  23-2891     Document: 12
                3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                     document                Pages:
                                                40 filed 03/17/23   93 1 of 22
                                                                  page


                              UNITED STATES DISTRICT COURT                       Sent to Client
                              NORTHERN DISTRICT OF INDIANA                       3-17-2023 ak
                                  SOUTH BEND DIVISION

 UNITED STATES OF AMERICA

           v.                                       Case No. 3:22-CR-36 JD

 MATTHEW RICE


                                     OPINION AND ORDER

          The Defendant, Matthew Rice, has moved for the one count indictment against him to be

dismissed. (DE 28.) Mr. Rice argues the indictment should be dismissed as the statute underlying

the charge, 18 U.S.C. § 922(g)(1), is facially unconstitutional in light of the Supreme Court’s

recent decision in New York State Rifle & Pistol Association v. Bruen, 142 S.Ct. 2111 (2022).

Further, Mr. Rice argues this statute is unconstitutional as applied to him as his underlying

felony conviction is for a non-violent offense. For the following reasons, this motion will be

denied.

          A. Background

          A federal grand jury returned a single count indictment against Mr. Rice, charging him

with knowingly possessing a firearm on or about April 11, 2022, after having previously been

convicted of a crime punishable by imprisonment for a term exceeding one year, in violation of

18 U.S.C. § 922(g)(1). (DE 10.) For the limited purpose of adjudicating this motion, the Court

assumes these alleged facts to be true. The Court will reiterate that Mr. Rice remains presumed




                                                                                           App. 10
      Case:case
USDC IN/ND  23-2891     Document: 12
                3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                     document                Pages:
                                                40 filed 03/17/23   93 2 of 22
                                                                  page


innocent of the charges against him, and the Court takes no position on the question of his guilt,

or the veracity of any factual allegation presented by the Government. 1

        B. Legal Standard

        A defendant can move before trial to dismiss an indictment for failure to state an offense.

Fed. R. Crim. P. 12(b)(3)(B). A defendant can make such a motion on the basis that the charged

offense is based on an unconstitutional statute. United States v. Holden, 2022 WL 17103509, *2

(N.D. Ind. Oct. 31, 2022) (internal citations omitted).

        A constitutional challenge to a statute can be brought either as a facial challenge, or an

as-applied challenge. Mr. Rice brings both types of challenges in his motion. To succeed on a

facial challenge to the constitutionality of a statute, the moving party must show that the statute

is unconstitutional in all applications. City of L.A. v. Patel, 576 U.S. 409, 415, 418 (2015). To

succeed on an as-applied challenge, the moving party must show it is unconstitutional because

the way it was applied to the particular facts of their case. See United States v. Phillips, 645 F.3d

859, 863 (7th Cir. 2011).

        C. Discussion

        Mr. Rice’s motion challenges the constitutionality of 18 U.S.C. § 922(g)(1). This statute

provides that “[i]t shall be unlawful for any person ... who has been convicted in any court of, a

crime punishable by imprisonment for a term exceeding one year ... [to] possess in or affecting

commerce, any firearm or ammunition.” 18 U.S.C. § 922(g)(1). Mr. Rice argues that, as applied

to him, § 922(g)(1) is unconstitutional as the Second Amendment does not permit the

government to categorically bar individuals convicted of non-violent felonies from possessing



        1 The Government’s response proffered additional, more specific, facts about the underlying

conduct for the charge. In his reply, Mr. Rice strenuously objected to the Court considering these facts.
This objection is moot as none of the additional proffered facts are necessary to adjudicate this motion.


                                                     2
                                                                                                  App. 11
      Case:case
USDC IN/ND  23-2891     Document: 12
                3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                     document                Pages:
                                                40 filed 03/17/23   93 3 of 22
                                                                  page


firearms. Mr. Rice’s facial challenge argues that § 922(g)(1) violates the Second Amendment

because there is no historical tradition of categorically barring felons from possessing firearms.

         If a statute as applied to a defendant is constitutional, then a facial challenge to that

statute should also fail as the statute will not be unconstitutional in all applications. See United

States v. Salerno, 481 U.S. 739, 745 (1987). Therefore, the Court will first address Mr. Rice’s as-

applied challenge and only advance to his facial challenge if necessary.

                 (1) The Bruen standard for applying the Second Amendment

         Mr. Rice argues that this case must be dismissed because 18 U.S.C. § 922(g)(1) is

unconstitutional under the Second Amendment to the United States Constitution. Therefore, the

Court must analyze and apply the Second Amendment jurisprudence articulated by the Supreme

Court.

         The text of the Second Amendment states: “A well regulated Militia, being necessary to

the security of a free State, the right of the people to keep and bear Arms, shall not be infringed.”

U.S. Const. amend. II. In District of Columbia v. Heller, the Supreme Court concluded that the

Second Amendment confers “an individual right to keep and bear arms.” 554 U.S. 570, 595

(2008). In reaching this conclusion, the Court recognized that “[l]ike most rights, the right

secured by the Second Amendment is not unlimited.” Id. at 626. Relevant to this case, the Court

also warned that “nothing in our opinion should be taken to cast doubt on longstanding

prohibitions on the possession of firearms by felons and the mentally ill.” Id. In a footnote, the

Court went on to classify these traditional restrictions on firearm possession as a non-exhaustive

list of “presumptively lawful regulatory measures.” Id. at 627 n. 26.

         In Bruen, the Supreme Court built upon its prior holdings to further define the scope of

the Second Amendment right. The Court described its earlier Second Amendment decisions as




                                                    3
                                                                                               App. 12
      Case:case
USDC IN/ND  23-2891     Document: 12
                3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                     document                Pages:
                                                40 filed 03/17/23   93 4 of 22
                                                                  page


“recogniz[ing] … the right of an ordinary, law-abiding citizen to possess a handgun in the home

for self-defense.” 142 S.Ct. at 2122. (citing Heller, 554 U.S. 570; McDonald v. City of Chicago,

561 U.S. 742 (2010)). The Bruen Court went on to lay out the methodology lower courts should

utilize in reviewing Second Amendment challenges.

       Prior to Bruen, the various circuit courts had largely converged on a two-step framework

for analyzing Second Amendment challenges. Id. at 2126. At the first step, the government could

justify its regulation by establishing that the challenged law regulates activity falling outside the

scope of the Second Amendment right as originally understood. Id. At the second step, the courts

analyzed how close the law comes to the core of the Second Amendment right and the severity

of the law’s burden on that right. Id.

       In Bruen the Court stated that this test was “one step too many.” Id. at 2127. The Court

held that the first step of this framework was broadly consistent with Heller, but the “means-end

scrutiny” of step two was inconsistent with the Second Amendment and the appropriate

methodology centers on the “constitutional text and history.” Id. at 2127–29. The Court

articulated that the proper standard is as follows:

       “In keeping with Heller, we hold that when the Second Amendment's plain text covers an

       individual's conduct, the Constitution presumptively protects that conduct. The

       government must then justify its regulation by demonstrating that it is consistent with the

       Nation's historical tradition of firearm regulation. Only then may a court conclude that

       the individual's conduct falls outside the Second Amendment's ‘unqualified command.’”

       Id. at 2126 (quoting Koningsberg v. State Bar of Cal., 366 U.S. 36, 50 n.10 (1961)).

       Phrased another way, this test is composed of two prongs. The first prong is determining

whether the plaint text of the Second Amendment covers the conduct at issue. Id. at 2129, 2134–




                                                  4
                                                                                             App. 13
      Case:case
USDC IN/ND  23-2891     Document: 12
                3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                     document                Pages:
                                                40 filed 03/17/23   93 5 of 22
                                                                  page


35. The second prong is determining whether the Government has established the regulation is

consistent with the historical tradition of firearms regulation in the United States. 2 Id. at 2129–

30.

        The Supreme Court stated that the second prong would require the use of “historical

analogies” and reasoning by analogy as is commonly done by lawyers and judges. 3 Id. at 2132.

Consequently, in comparing a historical firearm regulation and a modern one, the key

determination to be made is whether the two are “relevantly similar.” Id. The Bruen Court did

not provide an exhaustive survey of the features that could render regulations relevantly similar

but found that Heller and McDonald outlined at least two: “how and why the regulations burden

a law-abiding citizen’s right to armed self-defense.” Id. at 2132–33. Phrased differently,

“whether modern and historical regulations impose a comparable burden on the right of armed

self-defense and whether that burden is comparably justified are “‘central’” considerations when

engaging in an analogical inquiry.” Id. at 2133 (quoting McDonald, 561 at 767 (itself quoting

Heller, 554 U.S. at 599)).



         2 The Court would note that Seventh Circuit precedent appears to suggest that in the case of a

challenge to a “presumptively lawful” regulation, the burden on prong two may shift from the
Government to the challenger. See Hatfield v. Barr, 925 F.3d 950, 953 (7th Cir. 2019) (“If the subject were
something other than a felon-dispossession statute, the Attorney General would bear the burden of
justification”). As it is unclear whether that holding applies post-Bruen, neither party raised the issue in
this case, and this question is not dispositive to this case; the Court applied the standard exactly as
articulated in Bruen and placed the burden on the Government. The Court only notes this issue to
encourage inquiry in future cases when this issue might be dispositive.

         3 Mr. Rice’s motion seems to argue that if the regulation in question affects a societal problem that

has persisted since the 18th century and there is no historical twin to the regulation, the Government
loses and is unable to argue an analogical regulation existed. (DE 28 at 18–19.) Mr. Rice appears to back
away from this proposition in his reply brief, however. (DE 38 at 10–12.) This is a wise concession. Mr.
Rice’s characterization of the Bruen test in his initial motion is plainly contrary to the text of Bruen, which
requires a similar regulation but not a twin. 142 S.Ct. at 2133. Moreover, such a reading would render
Bruen’s holding illogically restrictive. See United States v. Kelly, 2022 WL 17336578, *2 (M.D. Tenn. Nov. 16,
2022) (“The court's investigation [under Bruen], therefore, cannot be so simple as just comparing the
modern law under review with the laws of a couple of centuries ago, like a redline comparison in a word
processing application.”); United States v. Jackson, 2023 WL 2242873, *12–13 (D. Md. Feb. 27, 2023) (same,
collecting cases).


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      Case:case
USDC IN/ND  23-2891     Document: 12
                3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                     document                Pages:
                                                40 filed 03/17/23   93 6 of 22
                                                                  page


        The Court further noted that this analogical reasoning is “neither a regulatory straitjacket

nor a regulatory blank check.” Id. While warning courts to not “uphold every modern law that

remotely resembles a historical analogue,” the Court also clarified that the Government is only

obligated to identify a “historical analogue, not a historical twin.” Id. (internal citation omitted).

Therefore, even if a modern regulation is not a “dead ringer” for a historical precursor, it may be

sufficiently analogous to pass constitutional muster. 4 Id.

                (2) Mr. Rice’s as-applied challenge

        The Court will begin with Mr. Rice’s as-applied challenge. This challenge argues the

government may not categorically disarm individuals who have been convicted of non-violent

felonies. 5 For the following reasons, the Court disagrees and will reject Mr. Rice’s as-applied

challenge.

                (a) The Bruen decision did not disturb existing Seventh Circuit precedent which

forecloses Mr. Rice’s as-applied challenge

        The first reason that Mr. Rice’s as-applied challenge fails is because nothing in the Bruen

decision indicates that it upsets existing circuit precedent upholding § 922(g)(1) as applied to

non-violent felons.




         4 Bruen also stated that “when a challenged regulation addresses a general societal problem that

has persisted since the 18th century, the lack of a distinctly similar historical regulation addressing that
problem is relevant evidence that the challenged regulation is inconsistent with the Second Amendment.”
142 S. Ct. at 2131 (emphasis added). Some courts have read this language as creating a more stringent
standard of review for gun regulations aimed at societal ills dating to the Founding era, and Mr. Rice
implicitly urges this Court to do the same. See e.g. United States v. Holden, 2022 WL 17103509, *3 (N.D. Ind.
Oct. 31, 2022); United States v. Lewis, 2023 WL 187582, *4–5 (W.D. Okla. Jan. 13, 2023); (DE 38 at 11.) While
the Court does not need to decide this issue, it will note its skepticism of this conclusion for the reasons
noted by other sister courts. See Jackson, 2023 WL 2242873 at *12–13. To the extent there is a distinction
between “distinctly similar” and “relevantly similar” it does not help Mr. Rice’s case. The Court finds that
the Government’s proffered historical analogues would satisfy either of these standards.

        5 The Government does not dispute that the underlying felony conviction for Mr. Rice’s instant

§ 922(g)(1) prosecution, based on his April 2022, possession of a firearm, is a non-violent crime.


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                                                                                                     App. 15
      Case:case
USDC IN/ND  23-2891     Document: 12
                3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                     document                Pages:
                                                40 filed 03/17/23   93 7 of 22
                                                                  page


        As previously mentioned, in Heller, the Supreme Court expressly noted that its decision

should not be construed as casting doubt on the constitutionality of long-standing regulations

such as prohibiting felons and the mentally ill from possessing firearms. 554 U.S. at 626. The

Supreme Court subsequently reaffirmed its language regarding these presumptively lawful

restrictions in McDonald, 561 U.S. at 786. Consequently, in reviewing post-Heller and

McDonald challenges to the constitutionality of § 922(g)(1) the lower federal courts approached

the regulation as “presumptively lawful” and uniformly upheld the statute including as applied to

non-violent felons. Kanter v. Barr, 919 F.3d 437, 442 (7th Cir. 2019) (upholding § 922(g)(1) as

applied to non-violent felons) (collecting cases). In Bruen, the Supreme Court once again

reaffirmed these passages from Heller and McDonald. 6 On its face this language suggests that

§ 922(g)(1) is constitutionally valid and nothing in Heller, McDonald, or Bruen should be read to

the contrary.

        Mr. Rice devotes considerable energy to arguing that this language in Heller is mere dicta

which this Court should disregard and that it has been superseded by the Bruen framework. The

Court is unpersuaded by his arguments for three reasons. First, the Court is skeptical this

language can be characterized as mere dicta given it served to limit the scope of the Heller

decision and has been reaffirmed by the Supreme Court in McDonald and Bruen. The Supreme

Court’s repeated limitation of its Second Amendment jurisprudence to avoid disturbing

“presumptively lawful” regulations might not be an unequivocal endorsement of those



        6 The majority opinion in Bruen does not expressly restate these passages, but stated its

holding is “in keeping with Heller” which indicates it is consistent with Heller and Heller’s progeny.
142 S.Ct. at 2126. Further, six of the nine Justices reaffirmed these passages from Heller, or their
substance, in concurrences or dissents. Id. at 2157 (Alito, J. concurring) (“Nor have we disturbed
anything that we said in Heller or McDonald … about restrictions that may be imposed on the
possession or carrying of guns.”), 2162 (Kavanaugh, J. concurring) (expressly reaffirming the
language of Heller), 2189 (Breyer, J. dissenting) (same).



                                                      7
                                                                                                    App. 16
      Case:case
USDC IN/ND  23-2891     Document: 12
                3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                     document                Pages:
                                                40 filed 03/17/23   93 8 of 22
                                                                  page


regulations’ constitutionality, but it is clearly a warning to lower courts to exercise caution in

applying the holdings of Bruen, McDonald, and Heller.

       Second, dictum of the Supreme Court is generally binding upon lower courts. Reich v.

Continental Cas. Co., 33 F.3d 754, 757 (7th Cir. 1994). The Seventh Circuit has expressly

recognized the importance and guiding authority of these passages from Heller in defining the

scope of the Second Amendment. In United States v. Skoien, 614 F.3d 638, 640–41 (7th Cir.

2010) (en banc), the Seventh Circuit found that it was bound to respect the message conveyed by

Heller’s language regarding longstanding, presumptively lawful restrictions. Specifically, the

court found that these passages of Heller were instructions that “some categorical limits are

proper,” that those limits are part of the “original meaning” of the Second Amendment, and that

filling in the details was to be left to the people’s elected representatives. Id. Additionally, in an

unpublished decision after Bruen, the Seventh Circuit rejected a facial challenge to § 922(g)(1)

by a violent felon, in part by noting that the Supreme Court has declined to question the validity

of laws barring felons from possessing firearms. United States v. Gonzalez, 2022 WL 4376074,

*2 (7th Cir. Sept. 22, 2022) (unpublished). This recent decision, while unpublished, reflects that

the Seventh Circuit does not consider Bruen to have disturbed existing precedent on laws

regulating felon possession of firearms.

       Third, Mr. Rice’s position requires the Court to find that every other circuit and district

court which has considered this language and concluded it is relevant to interpreting the scope of

the Second Amendment, to have been wrong. The Court finds the possibility of such a systemic

misapprehension to be unlikely. The Court finds this to be unlikely because of how many courts

have concluded that these passages help define the scope of the Second Amendment and,

conversely, because Mr. Rice has not cited to a single legal authority which shares his view. See




                                                   8
                                                                                              App. 17
      Case:case
USDC IN/ND  23-2891     Document: 12
                3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                     document                Pages:
                                                40 filed 03/17/23   93 9 of 22
                                                                  page


e.g. Kanter, 919 F.3d 442 (collecting pre-Bruen circuit court cases). In fact, as the Government

notes in their response, § 922(g)(1) has been uniformly upheld by federal courts when challenged

on the basis of Bruen. (DE 33-1 (appendix to Government response collecting post-Bruen cases

upholding § 922(g)(1).) Therefore, the Court cannot agree with Mr. Rice that the passages of

Heller describing the prohibition on felons possessing firearms as longstanding and

presumptively lawful should be disregarded.

       The Court is also unpersuaded by Mr. Rice’s contention that the Bruen framework in

some way vacated or superseded Heller. In addition to the previously discussed reasons, this

interpretation is contrary to the explicit language of Bruen which stated the decision was “in

keeping with Heller.” 142 S.Ct. at 2126. Moreover, Bruen expressly reaffirmed the analytical

method deployed by Heller and used it to resolve the challenge to the New York statute at issue.

Id. at 2134–56. While Bruen certainly built upon Heller and provided further direction to the

circuit courts on how to analyze Second Amendment challenges, the conclusion that Bruen

superseded Heller is a step too far.

       Therefore, the Court finds that Bruen, “in keeping with Heller” did not overturn or

otherwise disturb the existing body of Seventh Circuit precedent concluding § 922(g)(1) is

constitutional as applied to non-violent felons. 142 S.Ct. at 2129. The Court’s conclusion on this

point is shared by at least four sister courts within the Seventh Circuit and others across the

nation. United States v. Braster, 2023 WL 2346282, *2 (N.D. Ind. Mar. 2, 2023) (holding the

Second Amendment only protects law-abiding citizens and that the Bruen decision does not

upset the precedent established by Kanter); United States v. Price, 2023 WL 1970251, *3–4

(N.D. Ill. Feb. 13, 2023) (upholding § 922(g)(1) as applied to non-violent felons based on pre-

Bruen Seventh Circuit precedent); United States v. Garrett, 2023 WL 157961, *2–3 (N.D. Ill.




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                                                                                            App. 18
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 10 of 22
                                                                  page


Jan. 11, 2023) (upholding § 922(g)(1) in part based on pre-Bruen Seventh Circuit precedent);

United States v. Gay, No. 4:20-cr-40026, DE 412 (C.D. Ill. Dec. 5, 2022) (same); see also United

States v. Farley, 2023 WL 1825066, *2–3 (C.D. Ill. Feb. 8, 2023) (“Properly understood, Bruen

did not overturn, abrogate, or otherwise suggest that the longstanding prohibitions identified in

Heller, including the prohibition of possession of firearms by felons, may no longer be lawful.”

(internal quotations omitted) (collecting cases for this proposition)). This means the Seventh

Circuit’s holding in Kanter upholding § 922(g)(1) as applied to non-violent felons remains valid

and binding precedent which precludes Mr. Rice’s as-applied challenge. 7 919 F.3d 437. The

failure of Mr. Rice’s as-applied challenge means that his facial challenge to § 922(g)(1) fails as

well. Therefore, Mr. Rice’s motion must be denied.

        Even if Mr. Rice’s challenge was not foreclosed by circuit precedent, the Court finds, in

the alternative, his challenge would fail on the merits of the Bruen test. To illustrate this, the

Court will apply the two-prong analysis laid out in Bruen.

                (b) The Court assumes, without deciding, Mr. Rice is within the protective ambit

of the Second Amendment

        The first step of a Second Amendment challenge is deciding whether the regulated

conduct falls within the scope of the Second Amendment’s plain text. Bruen, 142 S.Ct. at 2129–

30. Therefore, the Court must determine whether Defendant, presumed for this motion to be a

convicted individual as prohibited under § 922(g)(1), is among those protected by the Second

Amendment. 8


        7 The fact that Justice Barrett, who wrote a dissent favoring Mr. Rice’s as-applied challenge

position while on the Seventh Circuit, now sits on the Supreme Court is unavailing to Mr. Rice. (See DE
28 at 4.) Dissents are not binding precedent, and that fact does not change because their authors are
elevated to the Supreme Court of the United States.

        8 The parties do not dispute that the mere conduct of possessing a firearm would be protected by

the Second Amendment.


                                                    10
                                                                                                  App. 19
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 11 of 22
                                                                  page


        The Government argues that, as a convicted felon, Mr. Rice is not considered to be a part

of “the people” for purposes of the Second Amendment as the Amendment’s protections only

extend to law-abiding citizens. As this Court noted in adjudicating another Bruen challenge, this

is known as the civic virtue theory of the Second Amendment. United States v. Posey, 2023 WL

1869095, *5–6 (N.D. Ind. Feb. 9, 2023). There is historical evidence supporting this theory and

the theory is at the heart of an ongoing debate among federal jurists. 9 Id. Further, while the

Seventh Circuit has previously discussed the theory in at least three decisions prior to Bruen, it

has never reached a definitive ruling on its merits. Id. Prior to Bruen, several federal circuit

courts had endorsed this theory, at least as relating to felons. These courts concluded that felons,

including non-violent felons, fell outside the scope of the Second Amendment’s protection.

Kanter, 919 F.3d at 447 (recognizing cases from several circuits reaching this conclusion).

Following Bruen, two federal circuit court panels have discussed the civic virtue theory and

reached opposite conclusions on its merits. Compare Range v. Att’y Gen., 53 F.4th 262 (3d Cir.

2022) (vacated for rehearing en banc) (upholding § 922(g)(1) as applied to non-violent felons by

finding felons are outside “the people” protected by the Second Amendment) with United States

v. Rahimi, 59 F.4th 163 (5th Cir. 2023) 10 (rejecting the civic virtue theory and striking down 18

U.S.C. § 922(g)(8)); United States v. Rahimi, 2023 WL 2317796, *4–5 (5th Cir. Mar. 2, 2023)

(same). 11


         9 The Court incorporates by reference its prior discussion of the historical support for the civic

virtue theory in Posey. This includes but is not limited to, the repeated characterization of the Second
Amendment right as belonging to “law-abiding citizens” in Bruen. See id. at *6 n.5.

        10 The Court will note that the Attorney General has indicated the Department of Justice would

seek further review of the decision. Department of Justice, Office of the Attorney General, Press Release
No. 23-136, Statement from Attorney General Merrick B. Garland Regarding United States v. Rahimi (Feb.
2, 2023).

        11 The 5th Circuit has subsequently withdrawn and substituted the original opinion. The

substituted opinion reaches the same conclusion, relying on the same reasoning as the original opinion.


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                                                                                                    App. 20
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 12 of 22
                                                                  page


       In reviewing Bruen challenges to federal firearms laws, our sister court, the Northern

District of Illinois, has twice held that the Second Amendment’s protection only extends to law-

abiding citizens. Price, 2023 WL 1970251, at *4 (upholding § 922(g)(1) and distinguishing

Rahimi); United States v. Seiwert, 2022 WL 4534605, *2 (N.D. Ill. Sept. 28, 2022) (upholding

18 U.S.C. § 922(g)(3)); see also Garrett, 2023 WL 157961 at *2 (upholding § 922(g)(1) and

noting that the Supreme Court’s Second Amendment jurisprudence suggests the right focuses on

law-abiding citizens). While this motion was pending, two fellow judges within this District

reached the same conclusion in rejecting challenges to § 922(g)(1). Braster, 2023 WL 2346282

at *2 (holding the Second Amendment only protects law-abiding citizens and that the Bruen

decision does not upset the precedent established by Kanter) (Brady, J.); see also United States v.

Clark, 2023 WL 2346284 (N.D. Ind. Mar. 2, 2023) (same); United States v. Tribble, 2023 WL

2455978, *2–3 (N.D. Ind. Mar. 10, 2023) (agreeing with Braster that the Second Amendment

only protects law-abiding citizens) (Simon, J.).

       Additionally, as the Government notes, there is support in the historical record that the

right to bear arms was not understood, at the time the Second Amendment was ratified, to extend

to felons. During the states’ constitutional ratification conventions three proposals were made

regarding restrictions in the right to bear arms which would have excluded felons. United States

v. Coombes, 2022 WL 4367056, *6 (N.D. Okla. Sept. 21, 2022) (“no law shall be passed for

disarming the people or any of them unless for crimes committed, or real danger of public injury

from individuals.”) (citing 2 Bernard Schwartz, The Bill of Rights: A Documentary History, 665

(1971) (discussing the Pennsylvania convention)); (“Congress shall never disarm any citizen,

unless such as are or have been in actual rebellion.”) (citing 1 Jonathan Elliot, The Debates in the

Several State Conventions on the Adoption of the Federal Constitution, 326 (1836) (discussing




                                                   12
                                                                                           App. 21
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 13 of 22
                                                                  page


the New Hampshire convention)); (“the right to keep arms extended only to ‘peaceable citizens,’

not to criminals”) (citing Stephen P. Halbrook, The Founders’ Second Amendment: Origins of

the Right to Bear Arms, 206 (updated ed. 2008) (discussing the Massachusetts convention)).

       Mr. Rice argues that these proposals are not persuasive because they were considered but

ultimately rejected. Mr. Rice interprets this as a rejection of these provisions on the basis they

were incompatible with the public understanding of the right to bear arms. While these proposals

were not ultimately adopted, it was due to the Federalists opposition to the Bill of Rights as a

whole and not objections to these specific proposals. Coombes, 2022 WL 4367056 at *6.

Furthermore, in Heller the Supreme Court cited the Pennsylvania proposal as a “highly

influential” “precursor” to the Second Amendment and favorably cited the New Hampshire and

Massachusetts proposals as well. Skoien, 614 F.3d at 640 (quoting Heller, 554 U.S. at 604).

While at least one sister court agrees with Mr. Rice’s view that these proposals are unpersuasive,

this Court respectfully disagrees. See United States v. Hicks, 2023 WL 164170, *4–5 (W.D. Tex.

Jan. 9, 2023) (striking down § 922(n) as unconstitutional). The Court finds the commentary by

the Supreme Court to be more instructive on the value of these proposals. Several other sister

courts likewise agree that they provide useful guidance. See e.g. Coombes, 2022 WL 4367056 at

*6; United States v. Riley, 2022 WL 7610264, *11 (E.D. Va. Oct. 13, 2022); United States v.

Collette, 2022 WL 4476790, *6 (W.D. Tex. Sept. 25, 2022).

       The Court would make an additional observation which suggests felons in particular

would likely be excluded from the text of the Second Amendment. In discussing the ambit of the

Second Amendment right in Heller, the Supreme Court initially describes it as belonging to “all

members of the political community.” 554 U.S. at 580. The Supreme Court made this comment

in the context of concluding the Amendment confers an individual right and not just a civic right




                                                 13
                                                                                            App. 22
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 14 of 22
                                                                  page


and would later go on to characterize the right as one belonging to “law-abiding” and

“responsible” citizens in the context of discussing what activity the right protects. Id. at 625, 365.

Notwithstanding this context, opponents of the civic virtue theory argue the former language

should be controlling and that the Second Amendment right extends beyond only the law-abiding

citizenry. (See e.g. DE 28 at 15.)

       However, when it comes to felons, there is a historical tradition of curtailing some core

rights associated with being a member of the political community, namely voting and serving on

a jury. Kanter, 919 F.3d at 453 n.3, 462 (Barrett, J. dissenting) (noting that history supports the

restriction of voting rights and jury service to virtuous citizens); see also United States v. Hill,

2022 WL 17069855, *4 (S.D. Tex. Nov. 17, 2022) (ability to vote is a defining trait of

membership in a political community); Collette, 2022 WL 4476790 at *6 (same).

       The Court finds this language in Heller relating to members of the political community

suggests corresponding restrictions on the ability of felons to bear arms are permissible. As a

matter of basic reasoning it is hard to reconcile how the Framers of the Constitution could

conclude that felons could not be trusted to wield pens in voting booths or jury rooms, but they

simultaneously found them capable of wielding arms in the public square. See Bruen, 142 S.Ct.

at 2134 (concluding the Second Amendment includes a right to carry handguns in public for self-

defense).

       In the Court’s view, the fact the Framers excluded felons from core privileges afforded to

members of the political community either suggests felons were not considered members of the

political community, or even if they retained their membership post-conviction, their rights as

members could nonetheless be considerably restricted without offending the Constitution. Either

conclusion supports finding that the government has the power to restrict felons’ ability to bear




                                                  14
                                                                                              App. 23
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 15 of 22
                                                                  page


arms just as it restricts their ability to vote and, ergo, that § 922(g)(1) is constitutional. Multiple

sister courts have reached the same conclusion, both before and after Bruen. See e.g. United

States v. Rozier, 598 F.3d 768, 771 & n.5 (11th Cir. 2010) (analogizing felon-dispossession

statutes to felon disenfranchisement laws and noting other examples of how a criminal

conviction allows further restriction of constitutional rights); Hill, 2022 WL 17069855 at *4

(“Like voting rights, Second Amendment rights are a privilege afforded to the political

community and can be forfeited upon demonstration that an individual does not, or no longer,

fits the criteria to be a member of that political community.”); Collette, 2022 WL 4476790 at *6

(“[I]f the definition of “the people” is consistent throughout the Constitution—and it has been

historically constitutional to exclude those convicted of a crime from “the people” under Section

2, Article I [electorate for House of Representatives]—it would also be constitutional then to

exclude those groups from the Second Amendment's kindred ‘political right.’”); Coombes, 2022

WL 4367056 at *8 (noting that the right to bear arms and the right to vote were “intimately

linked” in the minds of the Framers) (internal quotation omitted); United States v. Johnson, 2023

WL 2308792, *5–6 (S.D. Fla. Feb. 20, 2023) (upholding § 922(g)(1) as applied to non-violent

felons based on the historical treatment of felons).

        Ultimately, the Court does not need to decide this issue in this case, as there are adequate

other grounds for deciding the motion. In light of this and the mixed guidance from the Seventh

Circuit on the civic virtue theory, the Court will decline to decide the issue in this case. For the

purposes of this motion the Court will assume, without deciding, Mr. Rice’s possession of a

firearm is facially covered by the protective ambit of the Second Amendment.

        That being said, even if the previously discussed historical evidence will not be used to

define the scope of the Second Amendment right, it is nonetheless useful for defining the scope




                                                   15
                                                                                               App. 24
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 16 of 22
                                                                  page


of the legislature’s power to take that right away. See Kanter, 919 F.3d at 452 (Barrett, J.

dissenting) (Concluding that analysis under the civic virtue theory and the broader theory

“typically yield the same result; one uses history and tradition to identify the scope of the right,

and the other uses that same body of evidence to identify the scope of the legislature’s power to

take it away.”); see also Coombes, 2022 WL 4367056, *3–9 (concluding the defendant was a

member of “the people” protected by the Second Amendment, but the historical tradition of

excluding felons from the common law right to bear arms was evidence felons can be lawfully

disarmed).

               (c) The Court finds that the government has carried its burden at the second

prong of the Bruen test

       The Government argues that there are two types of historical laws which provide

sufficiently similar historical analogies for disarming non-violent felons under § 922(g)(1). The

first are historical laws which authorized capital punishment and estate forfeiture for persons

convicted of felonies. The second are laws categorically preventing a group from possessing

firearms based on a legislative judgment that the group could not be trusted to adhere to the rule

of law. The Court finds the first proposed set of historical regulations is sufficiently analogous

and therefore does not need to analyze the second set of historical regulations.

       As previously stated, the key inquiry is “whether modern and historical regulations

impose a comparable burden on the right of armed self-defense and whether that burden is

comparably justified.” Bruen, 142 S.Ct. at 2133. In terms of burden, § 922(g)(1) prevents a

certain, clearly defined, group of people from possessing a firearm. As the Seventh Circuit noted

in Skoien, the original meaning of the Second Amendment indicates that some categorical

disqualifications on firearm possession are permissible. 614 F.3d at 640–41. Thus, the question




                                                 16
                                                                                             App. 25
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 17 of 22
                                                                  page


in this case is whether this specific group is one of those permissible categorical

disqualifications. The group in question is individuals who have been convicted of committing a

felony, including non-violent felonies.

        As the Government notes in great detail, felonies were historically considered the most

serious category of crime and were punished the severe penalties of estate forfeiture and capital

punishment. (DE 33 at 11–12 (citing 4 William Blackstone, Commentaries on the Laws of

England 95 (1769); see also Folajtar v. Att’y Gen., 980 F.3d 897, 904–05 (3d Cir. 2020)

(upholding § 922(g)(1) as applied to non-violent felons)). These punishments were not restricted

to violent felonies. States also treated non-violent crimes such as forgery and horse theft as

capital offenses. Medina v. Whitaker, 913 F.3d 152, 158 (D.C. Cir. 2019) (citing Stuart Banner,

The Death Penalty: An American History 18 (2002)). This was also true at the federal level. The

First Congress, which drafted and proposed the Second Amendment, made a variety of felonies

punishable by death including forging or counterfeiting a public security. An Act for the

Punishment of Certain Crimes Against the United States, 1 Stat. 112–15 (1790). The use of these

severe punishments on those convicted of violent and non-violent crimes shows that Mr. Rice’s

proposed distinction between violent and non-violent felonies is not supported by the historical

record. 12

        As previously mentioned in this order, historical evidence suggests felons were not

considered to be within the scope of the Second Amendment right and felons were also

historically barred from voting or serving on a jury, thus depriving felons of core rights

associated with being in a political community. See supra § C(2)(b). This evidence suggests, that




        12 As the Court notes elsewhere in this order, the disarmament of violent felons is also widely

recognized as justified under the historical tradition of disarming dangerous individuals. See infra § C(3).


                                                     17
                                                                                                   App. 26
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 18 of 22
                                                                  page


even if “the people” as contemplated by the Second Amendment was a broad class, felons were

excluded from the group following their convictions or their rights as members of this class

could be sharply curtailed. The conclusion that felons are one of the “groups that have

historically been stripped of their Second Amendment rights,” was also recognized by the Fifth

Circuit in its Rahimi decision. 59 F.4th at 171; 2023 WL 2317796 at *4.

       In light of this history, “it is difficult to conclude that the public, in 1791, would have

understood someone facing death and estate forfeiture to be within the scope of those entitled to

possess arms.” Folajtar, 980 F.3d at 905 (quoting Medina, 913 F.3d at 158). Further, given the

exceptionally heavy burden these punishments place upon an individual, which inherently

deprives the individual of their Second Amendment rights, disarmament under § 922(g)(1) is a

comparatively lenient punishment and therefore is constitutionally permissible. The Court’s

conclusion is reinforced by the analysis of sister courts which have likewise found that felons

were not considered within the common law right to bear arms by the Founders and there are

analogous restrictions on the rights of felons which support their categorical disarmament. See

e.g. United States v. Carrero, 2022 WL 9348792, *3 (D. Ut. Oct. 14, 2022); Coombes, 2022 WL

4367056 at *4–8 (providing a particularly rigorous historical analysis).

       In terms of justification, it is undisputed that Congress enacted the exclusions in § 922 to

“keep guns out of the hands of presumptively risky people.” United States v. Yancey, 621 F.3d

681, 683 (7th Cir. 2010). Mr. Rice does not dispute § 922(g)(1) acts towards that end. Rather he

argues it is overinclusive by including non-violent felons. However, the issue of overinclusion

relates to the question of the burden imposed by the regulation and not justification. As

previously discussed, the burden imposed by § 922(g)(1) is consistent with the history and

tradition of the United States.




                                                 18
                                                                                             App. 27
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 19 of 22
                                                                  page


        Mr. Rice does not dispute the accuracy of the Government’s description of the historical

treatment of felons. Rather he presents two arguments on why the proposed analogies are not

sufficiently similar.

        First, Mr. Rice argues that estate forfeiture is not the same thing as extinguishing a

possessory interest in firearms. Therefore, because “the Founding generation commonly meted

out estate loss but never firearm loss [that] demonstrates the sacrosanct nature of the Second

Amendment... .” (DE 38 at 25.) This argument is unpersuasive. Foremost, even if Mr. Rice was

correct on this point, it does not address the other historical evidence relating to capital

punishment and felon disenfranchisement which would be sufficient for the Government to carry

its burden. Next, Mr. Rice misapprehends the nature of estate forfeiture. Estate forfeiture strips

the subject of all of their property, which includes firearms. See Folajtar, 980 F.3d at 904.

Therefore, imposing the penalty of estate loss inherently extinguishes the individual’s possessory

interest in any firearms they may have. There is also some historical evidence that felons were

precluded from owning property or chattels, and this broad prohibition on possessing property

inherently means they could also not possess a firearm. Coombes, 2022 WL 4367056 at *6.

        Second, he argues the fact that capital punishment and estate forfeiture were “commonly

used” is distinct from the loss of Second Amendment rights attendant with every felony

conviction as provided for by § 922(g)(1). This argument is also unpersuasive. As an initial

matter, Mr. Rice seems to be attempting to redefine the Government’s burden to require the

production of a “historical twin.” Specifically, it appears Mr. Rice would only be satisfied if the

Government produced evidence that every convicted felon in 1791 was executed or had their

estate forfeited. That is not the burden imposed by Bruen. The fact that these types of

punishments were in common use near the time of ratification indicates they were considered to




                                                  19
                                                                                               App. 28
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 20 of 22
                                                                  page


be constitutionally permissible sanctions for persons convicted of felonies. Moreover, the

historical record suggests that capital punishment for felonies was “ubiquitous” in the Founding

era and was “the standard penalty for all serious crimes.” Medina, 913 F.3d at 158 (quoting Baze

v. Rees, 553 U.S. 35, 94 (2008) (Thomas, J. concurring) (other internal citations omitted)). This

suggests that the historical record would satisfy Mr. Rice’s heightened requirement as well as the

Bruen standard.

       The Court concludes that § 922(g)(1) imposes a similar or lesser burden on the Second

Amendment right compared to historic regulations restricting the rights of felons, and the burden

is comparably justified. Therefore the Court also concludes the Government has carried its

burden at the second prong of the Bruen test and that § 922(g)(1) would be constitutional on this

basis. Consequently, even if Mr. Rice’s as-applied challenge was not foreclosed by binding

Seventh Circuit precedent, it would also fail on the merits.

               (3) Mr. Rice’s facial challenge

       The Court will briefly discuss Mr. Rice’s facial challenge. As a preliminary matter, the

government argues that Mr. Rice is not entitled to bring a facial challenge to § 922(g)(1) based

on Seventh and other circuit precedent precluding such challenges under the Second

Amendment. (DE 33 at 5 (citing Baer v. Lynch, 636 Fed.Appx. 695, 697 (7th Cir. 2016) (itself

citing Skoien, 614 F.3d at 645) (collecting cases))). In response Mr. Rice suggests that the

Salerno standard described in the Government’s argument has fallen out of favor and the Court

should adopt Rahimi’s interpretation that Second Amendment facial challenges are permissible.

(DE 38 at 6–7.)

       The Court finds this issue to be moot. For the reasons discussed previously, Mr. Rice’s

as-applied challenge fails due to binding circuit precedent and because § 922(g)(1)’s prohibition




                                                 20
                                                                                          App. 29
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 21 of 22
                                                                  page


on non-violent felons possessing firearms is consistent with the history and tradition of firearms

regulation in the United States. The failure of Mr. Rice’s as-applied challenge means that his

facial challenge fails as well. Patel, 576 U.S. at 418; Salerno, 481 U.S. at 745. The Court would

note that in addition, and in the alternative, to the previously described reasons, Mr. Rice’s facial

challenge would also fail as his proffered legal authority disagrees with his position.

       Mr. Rice’s facial challenge advances the extraordinary proposition that Congress lacks

the authority to disarm anyone on the basis of their felony conviction, regardless of how violent

or dangerous they might be. After all a facial challenge requires the defendant to prove a statute

is unconstitutional in all applications and some convicted felons who have been or will be

disarmed are violent, dangerous, and otherwise downright disagreeable individuals. Patel, 576

U.S. at 418 (To succeed on a facial challenge to the constitutionality of a statute, the moving

party must show that the statute is unconstitutional in all applications); see e.g. 18 U.S.C.

§§ 1111 (homicide), 2242 (sexual abuse), 249 (hate crime acts). Mr. Rice indicates in this reply

that he understands this is his burden and reaffirms that it is the position he is advocating. (DE 38

at 6–7.)

       Mr. Rice cites no legal authority agreeing with this extraordinary position. The closest he

comes is Justice Barrett’s dissent in Kanter where she argues § 922(g)(1) is only constitutional as

applied to violent felons. Kanter, 919 F.3d at 451 (Barrett, J. dissenting). However, this non-

binding authority actually rejects the sweeping proposition in Mr. Rice’s facial challenge. Justice

Barrett eloquently opens her dissent with the observation “[h]istory is consistent with common

sense: it demonstrates that legislatures have the power to prohibit dangerous people from

possessing guns.” Id. The class of dangerous people includes violent felons and § 922(g)(1), in

her opinion, is constitutional when applied against them. See id. Justice Barrett also notes that




                                                 21
                                                                                            App. 30
       Case:case
USDC IN/ND   23-2891     Document: 12
                 3:22-cr-00036-JD-MGG    Filed: 12/21/2023
                                      document                Pages:
                                                40 filed 03/17/23    93 22 of 22
                                                                  page


legislatures are empowered to categorically exclude persons who are dangerous or untrustworthy

from possessing firearms as such regulations are “lineal descendants” of historical laws. Id. at

465.

        Conversely, the position being advocated in Mr. Rice’s facial challenge is not consistent

with history or common sense. If history establishes that the government may at the very least

disarm violent or dangerous felons as a class, then there are a considerable number of instances

where § 922(g)(1) is constitutional.13 Thus, Mr. Rice cannot establish the statute is

unconstitutional in all instances. The academic works cited by Mr. Rice in support of his facial

challenge are likewise unavailing. These works support the limited proposition that there is no

historical twin to § 922(g)(1), but otherwise do not endorse his sweeping conclusion.

Consequently, the Court finds Mr. Rice would fail to carry his burden in bringing a facial

challenge.

        D. Conclusion

        Accordingly, for the reasons previously stated, Mr. Rice’s motion to dismiss the

indictment is DENIED (DE 28).

        SO ORDERED.

        ENTERED: March 17, 2023

                                                                     /s/ JON E. DEGUILIO
                                                              Chief Judge
                                                              United States District Court




        13 The Court would again note that Kanter is the most favorable authority for Mr. Rice’s position.

The remainder of the case law he cites in this section, for the limited description of describing the history
of § 922(g)(1), ultimately uphold the challenged firearm restrictions. Interestingly, none of those cases
used to describe the history of § 922(g)(1) actually involve challenges to that section. N.R.A. v. A.T.F., 700
F.3d 185 (5th Cir. 2012) (challenge to §§ 922(b)(1), (c)(1)); United States v. Booker, 644 F.3d 12 (1st Cir. 2011)
(challenge to § 922(g)(9)); Skoien, 614 F.3d 648 (same); United States v. Chester, 628 F.3d 673 (4th Cir. 2010)
(same).


                                                        22
                                                                                                        App. 31
